Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 1 of 109 PageID #:
                                      265Filed L0lO7l24 Page 1 of 109 PagelD #: 100
 Case I:24-cv-O1664-NRM-LKE Document l-7

                                                                                          a
                                                                                          m
                                                                                          f.:i
                                                                                      Fg
                                                                                      nx
                                                                                      .rl.p
     T'MTED STATES DISTRICT COIJRT
     EASTERN DISTRICT OF NEW YORK                                                     He
                                                                                      -\r Cn
                                                                                      -   r+r-




        IUATJREEN HIJRLEY,
                                                                                      HEi
                                    Plaintiff                                             m

                                            Do cket No : 24-CV-01 661(I\RM)(tIc)-

       against-




       TIIT. DEPARTMENT OF EDUCATION
       oF TIIE CrTY OF NEW YORK,
                                   Defendant




       PLAINTIFF'S OPPOSITION TO DEFEI\DAIYTS' MOTION TO DISMISS




                                                Maureen Hurley
                                                l8 Kisco Park Drive
                                                Mormt Kisco, NY 10549
                                                9t7-5r7-6379
                                                Miatrd64@earthlink.net
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 2 of 109 PageID #:
 Case L:24-cv-0L664-NRM-LKE Document 17
                                     266Frled IOl07l24 Page 2 ol LO9 PagelD #: LOL




     PlaintiffMAUREEN HURLEY ('?laintiff) submits below her opposition to the Defendant's

     Motion To Dismiss and argues that none of the arguments disputing PlaintifPs alleged

     causes of action are rational or constitutionally sound. Defendant seems to support the claim

     that Plaintifffailed to plead engagement in a protected actMty. This is far from the tuth.

     Plaintifl a tenured employee, has the unique consdnrtionally protected status of Tenure held

     by New York State since the late 1800's, which gives her a Constitutionally protected

     property right to her employment and to a due process procedure spelled out in detail in

     EducationLaw $3020 and 3020-a. See Complaint, lltf 1,2,9,34,52-57.

     Defendant wants this court to believe that an experimental, temporary, City-ordered

     temporary Emergency COVID mandate could trample and throw out a Constitutional right.

     This makes no sense. Other points made by Defendant are equally irrational: (l) that the

     CVM changed Plaintiffs tenns of employment, was not disciplinary, and if she did not get

     vaccinated against COVID she could be, and was, temrinated without a due process 3020-a

     hearing; (2) thatthe Citywide Panel replaced 302haarbination; (3) thattelling Plaintiffshe

     would not get an acconrmodation because this would be an "undue burden" without

     explanation or particulars satisfied the heightened standards of Groffv DeJoy; (4) that

     Plaintifffailed to allege her religion was motivation for any of the conduct alleged in the

     Complaint; (5) that Plaintifffailed to plausibly allege facts that demonstate that the

     "Problem Code" did not reach stigma plus discrimination and defamation. Plaintiff disputes

     the arguments made in every point made in Defendant's papers.



                                                                                                   2
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 3 of 109 PageID #:
                                      267Frled L0lO7l24 Page 3 of L09 PagelD #: t02
 Case L:24-cv-0L664-NRM-LKE Document 17




     Plaintiffrequests that each and every argument and cause of action as well as her

     background facts and Exhibits in her Complaint and added to this Opposition, be

     incorporated to these arguments in full by reference. The Exhibits already submitted to this

     Court in support of her causes of action are: EXHIBITS A-J. Attached to this Opposition are

     EXTIBITS K.R.

     The *Problem Code", which was placed on Plaintiffs personnel file v/ithout her knowledge

     on October 4,z0zl,made the LWOP into a disciplinary action accusing Plaintiffand

     finding guilt of misconduct. This Problem Code is mentioned in Plaintiffs Complaint ffi

     3,4,34,35,52; Exhibits H, I (and I(a)), J. None of PlaintifPs claims are conclusory and all are

     fact-based

     Plaintifs Complaint cites causes of action against the Defendant who, under color of law,

     denied her the due process she was entitled to under 42 U.S.C. $ 1983, First and Fourteenth

     Amendment of the United Sates Constitution and Title VII of the Civil Rights Act of 1964

     ("Title VIf'), alleging that in neglecting to grve her an Education Law $ 3A20-a due process

     arbitation hearing and a reasonable accommodation allowing her to keep herjob while

     unvaccinated with the COVID Vaccine, Defendant violated the Free Exercise Clause of the

     United States Constitution, discriminated egainst her religion, and violated Constitutional law

     held in Title VII, Human Righb Law, Education Law $$ 3020 and 3020-a as well as the

     heightened standard in Groffv DeJoy, U.S. Supreme Court No. 22-174 (Jan. 13, 2023). (See

     E)(HIBIT trt Anerican Bar Association on Groffv Dejoy; and E)CIIBIT L, Rights of Tenured

     Employees).

     ln sum, Plaintiffwas fired for holding onto her sincere religious beliefs without due process.

     Defendant's Motion To Dismiss is s thinly-veiled attempt to reframe Plaintiffs case into

                                                                                                       3
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 4 of 109 PageID #:
                                       268
 Case t:24-cv-01.664-NRM-LKE Document l-7 Filed IOlO7l24 Page 4 of 109 PagelD #: 103




      sernsrhing that it is not and redirect this Court's attention from the egregious and unscrupulous

     actions and behaviors of the Defendant. Defendant's papers ignore the four corners of Plaintiffs

     Complaint and disregard the facts in the detailed factual allegations which are to be accepted as

     tnre. Defendant's Motion To Dismiss must be dismissed in its' entirety.




                                           srAr$ rRn on nto*.*
                  Rule 8(a)(2) of the Federal Rules of Civil hocedure provides that a pleading must.

        contain "a short and plain statement of the claim showing that the pleader is entitled to relief,"

        Fed. R. Civ. P. 8(a)(2). "To suryive a motion to dismiss brought pursuant to Rule 12OX6), the

        pleadings must contain enough facts to state a claim to relief that is plausible on its face."

        Dellatte v. Great Neck Union Free Sch. Dist., No. l0-cv4348, 20l2WL 164078,attl (2d

        Cir. Jan. 20,2012) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 54,r'., 570 (2007)

        (internal quotatibn marks omitted). The court must accept all factual allegations in the

        complaint and draw all reasonable inferences in the plaintifPs favor." Ruotolo v. City of New

        Yorlq 514 F.3d 184, 188 (2d Cir. 2008). Where the court finds well-pleaded factual allegations,

        it should assume their veracity and determine whether they plausibly grve rise to an entitlement to

        relief, Iqbal, 129 S. Ct. at 1950. In ruling on a motion to dismiss, a court may consider the facts

        asserted within the four corners of the complaint together with the documents attached to the

        complaint as exhibits aod any doc 'ments incorporated in the complaint by reference. Peter F.

        Gaito Architecture, LLC v. Simone Dev. Corp.,602 F.3d 57,& (2d Cir.2010).




          PLAINTITE'HAS PLEII SUFFICIENT FACTS TO SI'PPORT HNR CLAIM OF
          DISCRIMINATION PIIRSUAI\IT TO TITLE VII. FIRST AMEI\TDMENT. FREE
                      E)(ERCISE CLAUSE. NYCHRL AI\D IYYSHRL
                                                                                                              4
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 5 of 109 PageID #:
                                     269Filed tOlA7l24 Page 5 of 109 PagelD #: LO4
 Case L:24-cv-Qu664-NRM-LKE Document 17




      The criteria for discrimination under a prima facie Title VII claim includes: Plaintiff(l) is a

      member of a protected class; (2) was qualified for her position and satisfactorily perfonned her

      duties; (3) suffered an adverse employment action; and (a) the circumstances surrounding that

      action give rise to an inference of discrimination. In this matter, a review of Plaintiffs Exhibits

      atached to her Complaint and here shows conclusively that Plaintiffhas a sincere religious belief

      in the harm to come to her if she got vaccinated with the COVID vaccine. Her facts are visible,

     credible and valid. But she did not have to "prove" her beliefs in the first place. The burden, after

     she gave her proo{, falls onto the Defendant to prove that they had an undue burden in giving her

     an accolnmodation to the vaccine. This standard, key to this case, of making an effort to

     accommodate Plaintiffas a tenured teacher unable to be vaccinated was never attempted in any

     form. The Defendant rests on "we have an undue burden" even in the face of the latest ruling,

     namely Groffv DeJoy (see U.S. Supreme Court No. 22-174 (Jan. 13, 2023),Complaint, and Ex.

     K).

     lnDoes I-II v. Board of Regents of University of Colorado, 100 F.4th 1251 (l0th Cr..2024),the

     Tenth Circuit held that state university employees were likely to succeed on Free Exercise and

     Establishment Clause claims and entitled to preliminary iqiunction against denials of

     religious accommodation to a vaccine mandate. In Does, the Court affirmed that a vaccine

     mandate is "in no way generally applicable" when government evaluates employee religious

     beliefs case-by-case, allowing "individualized exemptions" to applicants whose beliefs, in the

     government's discretion, merit accommodation. Additionally in that case the Defendant adopted

     a facially discriminatory policy and then after litigation" offered a so-called "remedial" policy.

     Plaintiffargues here that the hostility by the Defendant toward the Plaintiffin this matter defeats

    neunality at every level of review, which suggests pre-textual discrimination. See EXHIBIT n4

                                                                                                            5
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 6 of 109 PageID #:
                                      270Filed LO\O7l24 Page 6 of 1-09 PagelD #: 105
 Case L:24-cv-0I664-NRM-LKE Document l-7




      the November 28,2021ORDER in Kane v de Blasio; Keil v City of New Yotk,2l-2678-cv;21-

      27ll-cv).In this ORDER the Judge cites Arbitrator Scheinman as writing "The ArbiEation

      Award states that its procedures are to operate "[a]s an altemative to any statutory reasonable

      accommodation process." And then in a footnote on p. I I states:

     rWe observe that this additional language is superfluous as a legal matter, at least
     as to religious accommodation under Title W of the Civil Rights Act of 1964. See 42
     U.S.C. 5 2000e, et seq. The Commissioner, a City offrcial, could not override Title Vtr, a
     federal law requiring employers to offer reasonable accommodations that do not result
     in undue hardship on the employer. ,See U.S. CoNsr. art. VI, cl. 2 (Supremacy Clause).
     Thus, even under the original Vaccine Mandate, DOE employees were legally entitled to
     request accommodations."

     Then the Judge wrote, * Plaintiffs have established their entitlement to preliminary relief on the

     narow ground that the procedures employed to assess their religious accommodation claims

     were likely constitutionally infirm as applied to them'p. 4; and, after a motions panel heard oral

     argument on November l02O2lconceming an emergency injunction by the Plaintiffs, the City

     conceded that the Accommodation Standards are "constitutionally suspecf'. p.12, Ex. M.

     The Court of Appeals then heard from the Defendant - same as in this case - that the Defendant

     labelled anyone who did not get vaccinated by Sept. 5,2022 were "intentionally''waiving their

     rights to challenge their so.called'Aoluntary resignation."

     Plaintiffnwer voluntarily resigned. She was forced into a wrongful termination without

     healthcare or salary, without due process. She was punished for her "misconduct". The Court of

     Appeals sent the case (Kane-Keil) to the Dishict Coun with an order that the City give all

     unvaccinated employees at the NYC Deparbnent of Education another chance to get an

     accommodation . The Citnide Panel was set up, and this secret goup was as constitutionally

     rrnsound as Scheinman's arbitrators.




                                                                                                          6
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 7 of 109 PageID #:
 Case L:24-cv-0L664-NRM-LKE Document L7
                                     271Filed LOl07l24 Page 7 of 1-09 PagelD #: 106




     Plaintiffand her plea for an exemption from the vaccine was never heard by anyone. This is not

     in compliance witli the 14tr Amendment Due Process Clause or contolling law, Education Law

      $3020-a. In fact, before Eric Eichenholtz' deposition was made public in social media in the case

     New Yorkers For Religious Liberly, Inc., et al., v The City of New Yorlg et al., MED Docket

     #2022+v-A0752, nothing was known at all about "The Citywide Panel". This is most certainly

     discriminatory, and bad faith. An inference that Plaintiffwas discriminated against and set up to

     fail must be made.

     Title VII ofthe Civil Rights Act of 1964 addresses religious freedom. The act prohibits

     employers from discriminating against its employees because of their sincerely held religious

     beliefs. Title 42 United States Code section 2000e-2(a) states: C'It shall be an unlawful

     employment practice for an employer . . . to fail or refuse to hire or to discharge any individual,

     or otherwise to discriminate against any individual with respect to his compensation, t€ms,

     conditions, or privileges of emplolment because of such individual's race, color, religion, sex, or

     national origin").

     The Supreme Court case the EEOC v. Abercrombie & Fitch Stores, Inc. 575 U.S. 768

     (2015) concluded that *An employer may not make an applicant's religious practice, confirmed

     or otherwise, a factor in employnent decisions. Title VII contains no knowledge requirement.

     Furthermore, Title VIJ's definition of religion clearly indicates that failure-to-accommodate

     challenges can be brought as disparate-treatuent claims. And Title VII gives favored teatuent

     to religious practices, rather then demanding that religious practices be treated no worse than

     other practices. Id., 575 (slip opinion pages 2-7).

     Tifle VII defines "religion" as "all aspects of religious obsenrance and practice, as well as

     belief." Moreover, as the EEOC has made clear, Title VII's protections also extend nonreligious

                                                                                                           7
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 8 of 109 PageID #:
 Case L:24-cv-0L664-NRM-LKE Document 17
                                     272Filed I0lO7l24 Page 8 of 109 PagelD #: LO7




     beliefs if related to morality, ultimate ideas about life, purpose, and death. See EEOC, Questions

     and Answers: Religious Discrimination in the Workplace (June 7,2008), Questions and

     Answers: Religious Discrimination in the Workplace I U.S. Equal Employnent Opportunity

     Commission (eeoc.gov) (*Title VII's protections also extend to those who are discriminated

     against or need accommodation because they profess no religious beliefs . . . . Religious beliefs

     include theistic beliefs, for exanple, tlose that include a belief in God as well as non-theistic

     'moral or ethical beliefs as to what is right and wrong which are sincerely held with the shength

     of traditional religious views.' Although courts generally resolve doubts about particular beliefs

     in favor of finding that they are religious, beliefs are not protected merely because they are

     strongly held. Rather, religion tlpically concerns 'ultimate ideas' about 'life, purpose, and

     death").

     The First Amendment to the Constitution protects Plaintiffs free exercise of religion and

     mandates state accommodation for members of religious groups who object to the vaccinations

     on religious grounds. The Free Exercise Clause recognizes and guarantees Americans the "right

     to believe and profess whatever religious doctrine [they] desire." Employrrent Division"

     Deparbnent of Human Resources of Oregon v. Smith, 494 U.S. 872,877 (1990).

     The Free Exercise Clause also ascertains that government may not attempt to regulate religious

     beliefs, compel religious beligfs, orpunish religious beliefs. Sherbert v. Verner,374 U.S. 398,

     402 Q963); Torcaso v. Watkins, 367 U.S. 488,492-93,495 (1961'); and United States v. Ballard,

     322 U.S.78,86 (t94p.).

     Government may not discriminate against or impose special burdens upon individuals because of

     theirreligious beliefs or status. Plaintiffargues that the "criteria" mystery (i.e. details as to what

     the criteria are) of the SAMS Panel and the Citywide Panel show animus and discrimination

                                                                                                              8
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 9 of 109 PageID #:
                                     273
 Case L:24-cv-0L664-NRM-LKE Document 17 Filed IO\O7l24 Page 9 of 109 PagelD #: 108




      against the unvaccinated Plaintiffbecause anything could be used against her. She was not told

      why a person was granted a religious exemption or, like her, denied. What made her different in

      a class of folk already in a "different" - but unknown category? See Employment Division,

     Deparhent of Human Resources of Oregon v. Smith, 494 U.S. 877; McDaniel v. Paty,435 U.S.

      618,627 (1978).

     The Constitution's protection against government regulation of religious belief is absolute; it is

     not subject to limitation or balancing against the interests of the government. Employnent

     Division, Deparhent of Human Resowces of Oregon v. Smith,494 U.S. 877; Sherbert v.

     Verner, 374 U.S. 402 (1963). Robert H. Jackson, stated:"If there is any fixed star in our

     constitutional constellation, it is that no official, high or petty, can prescribe what shall be

     orthodox in politics, nationalism, religion, or other maffers of opinion or force citizens to confess

     by word oract their faith herein.". West Virginia State Bd. of Educ. v. Barnette, 319 U.S. 624,

     642(t943).

     The Free Exercise Clause protects beliefs rooted in religion, even if such beliefs are not

     mandated by a particular religious organization or shared among adherents of a particular

     religious fiadition. Frazeev. Illinois Dept. of Employment Security,489 U.S. 829, 833-34

     (1989). As the Supreme Court has repeatedly counseled, "religious beliefs need not be

     acceptable, logical, consistent, or comprehensible to others in order to merit First Amendment

     protection." Church of the Lukumi Babalu Aye v. Hialeah, 508 U.S. 520, 531 (1993) They must

     merely be "sincerely held." Frazee v. Illinois Dept. of Employment Security, 489 U.S. 834

     (1989). rmportantly, the protections guamnteed by the Free Exercise Clause also extend to acts

     undertakeu in accordance with such sincerely held beliefs. That conclusion flows from the plain

     text of the First Amendment, which guarantees the freedom to "exercise" religion, not just the

                                                                                                          9
Case 1:24-cv-01664-NRM-LKE   Document 22 Filed 11/01/24 Page 10 of 109 PageID
                                     17274
Case 1,:24-cv-OL664-NRM-LKE Document #: Ftled L0107124 Page 10 of 109 PagelD #: 109




     freedom to "believe" in religion. Employment Div. v. Smith,494 U.S. S77 (1990); Thomas v.

     Review Board of the Indiana Employment Security Division,450 U.S. 716 (1990); McDaniel v.

     Paty, 435 U.5.627 (L978: Sherbert v. Vemer, 374 U.S. 40344 (1963); and Wisconsin v. Yoder,

     406 U.S. 20s, 2t9-20 (t972).

     The Free Exercise Clause protects against "indirect coercion or penalties on the free exercise of

     religton, not just outight prohibitions." Llmg vs Northwest Indian Cemetery Protection

     Association , 485 U. S., 450 (1988). "It is too late in the day to doubt that the liberties of religion

     and expression may be infringed by the denial of or placing of conditions upon a benefit or

    privilege." (Sherbert v. Verner, 374 U.S. 4M (1963). Because a law cannot have as its official

     "object orpurpose . . . the suppression of religion or religious conduct," a law must ensure that

    it is acnrally neutral and of general applicability. Church, 533-534.

    A law is not neutral if it singles out particular religious conduct for adverse treatuent, treats the

    same conduct as lawful when undertaken for secular reasons but unlawful when undertaken for

    religious reasons, applies uncalled for restrictions on religious conduct"; or "accomplishes . . . a

    'religious gerrymander,' an impermissible attempt to target [certrnin individuals] and their

    religious practices." Id. 538.

    A law is not generally applicable if "in a selective manner [it] impose[s] burdens only on

    conduct motivated by religious belief,," Id,543., including by "fail[ing] to prohibit nonreligious

    conduct that endangers [its] interests in a similar or greater degree than . . . does" the prohibited

    conducl id., or enables, expressly or de facto, "a system of individualized exemptions," as

    discussed in Emplolment Division, Departrnent of Human Resources of Oregon v. Smith,494

    U.S. 884 (1990); see Church, 537. "Neutrality and general applicability are interrelated, . . .[and]




                                                                                                         l0
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 11 of 109 PageID
                                      #: 275
 Case L:24-cv-0I-664-NRM-LKE Document 17  Frled LO\O7l24 Page L1 of 109 PagelD #: LLQ




     failure to satis$ one requirement is a likely indication that the other has not been satisfied." Id,

     53r.

     A law that disqualifies a religious person or organization from a right to compete for a public

     benefit-including a grant or contract-because of the person's religrous character is neither

     neutral nor generally applicable. See Trinity Lutheran Church of Columbia" Inc. v. Comer,

     Director, Missouri Departnent of Natural Resolrces, 582 U.S. (slip opinion pages 9-l l) (2017).

     Nonetheless, the requirements of neufial and general applicability are separate, and any law

     burdening religious practice that fails one or both must be subjected to shict scrutiny, Church,

     5a6. [O]nly in rare c&ses" will a law survive this level of scrutiny. [d546.

     Of coursg even when a law is neutral and generally applicable, government may run afoul of the

     Free Exercise Clause if it interprets or applies the law in a manner that discriminates against

     religious observance and practice. The Free Exercise Clause, much like the Free Speech Clause,

     requires equal feahnent of religious adherents. Trinity Lutheran Church of Columbian Inc. v.

     Comer 582 U.S. (slip opinion. Page 6) Q0l7); see also Good News Club v. Milford Central Sch.,

     533 U.S. 98, I 14 (2001), and Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819,

     837,841 (1995).

    The Defendant's Motion To Dismiss must be denied.

               PLNNTIFF HAS SUFFICIENTLY PLED DEFENDAIYT'S FAILT'RE
                        TO ACCOMMODATE T]IIDER TITLE VII


    The following criteria is used for alleging a failure to accommodate under Title VII:

    while under the CHRL, in order to adequately allege a failure to accommodate
    a religious belief claim Plaintiffmust allege that'(l) she has a bona fide religious belief that
    conflicts with an employment requircment; (2) she informed the employer of his belief; and (3)
    she was disciplined for failing to comply with the conflicting emplolment            .- Marte


                                                                                                        ll
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 12 of 109 PageID
Case L:24-cv-0I664-NRM-LKE Document 17  Frled L0lO7l24 Page 12 of 109 PagelD #: LIL
                                    #: 276




      v. Monetefiore Med. ctr., No. 22-CV-03491(CM), 2022u.s. Dist. LEXIS lg6gg4, at *lg
      (S.D.N.Y. Oct. 12, 2022).

      In this matter Plaintiffhas satisfied this criteria. Also, Human Rights Law says that the employer

     must give a reasonable accommodation even if claiming an undue burden. An explanation for the

     alleged'trndue burden" was n€ver given to Plaintiff in violation of Groffv Dejoy: an employer

     that denies a religious accommodation [must] show that the burden of granting the religious

     accommodation would result in "substantial increased costs in relation to the conduct of its

     particular business.".... the Court reasoned that undue hardship "means ssmsthing very different

     from a burden that is merely more than de minimis, i.e., something that is 'very small or

     trifling."'The Court also reviewed the 1977 decision in Trans World Airlines, Inc. v. Hardison,

     432 U.S. 63 (1977),which has been interpreted as holding undue hardship means de minimis

     cost. Furthermore,



     "With resPect to the new "substantial increased costs" standard, the Court explained that
     employers must take into account "all relevant factors in the case at hand, including the
     particular accommodation at issue and their practical impact in light of the nature, iize, and
     operating cost of an employer."

     The Defendant has blatantly ignored all the laws demanding a reasonable accommodation for

    Plaintiffwith the meaningless get out ofjail free card claiming'hndue burden". EX. K. The

    Defendant never engaged in a corporative dialogue with the Petitioner regarding an

    accommodation to satisf the requisites of his job, in direct violation of the New York City

    Human Rights Iaw NYC drlmin Code 8-107 (28)(e): "...potential accommodations that may

    address the person's accommodation needs, including altematives to a requested

    accommodation; aud the difficulties that such potential accommodations may pose for the

    covered entity."


                                                                                                      t2
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 13 of 109 PageID
                                     17277
 Case L:24-cv-0I664-NRM-LKE Document #:  Filed !0107124 Page 1-3 of 109 PagelD #: LLZ




      Under federal law, the City ofNew York must make reasonable accommodations for religious

      practices of its employees, unless the accommodation results in undue hardship on the conduct of

      the employer's business . Baker v. The Home Depot, 445 F.3d 54L Qd Cir. 2006). Furthermore,

      the City ofNew York must reasonably accommodate an employee who's sincerely held religious

      belie{, practice, or observance conflicts with a work requirement, unless the accommodation

      would create an undue hardship orpresent a direct threat. See NYC Admin. Code 8-107(3).


     The Defendant never offered any reasonable accommodation to the Plaintiffthat would

     both satisff the Plaintiffs sincere religious beliefs and the Defendant's concern for "a safe

     environment for in-person learning." Ansonia Bd. ofEduc. v. Philbrooh 479 U.S. 60, 68-69

     (1e86).

     Finally, agency personnel who do not interact in a cooperative dialogue and then make decisions

     that do not accommodate the employee, fail to comply with statutory authority. Simply citing an

     "undue hardship* is not an explanation for denial of a reasonable accommodation.

     The Defendaat in their Motion To Dismiss never offered a single document or factual

     evidence t,hat showed any effort towards accommodating Plaintiffever took placc

     {emphasis added)

     Here, in this casg the Defendant never gave any rational basis to deny her religious exemption

     request and any apcommodation. The Departuent totally failed in this duty.

     The remedy for the destruction of Federal rights seen here could have been to place anyone who

     had a sincere religious belief that prohibited himlher from being vaccinated against COVID into

     an alternate site which the Defendants called..Reassignment", or the,.Rubber Room". See

        The "Gotcha Squad" and the New York City Rubber Rooms


                                                                                                      l3
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 14 of 109 PageID
Case L:24-cv-0L664-NRM-LKE Document l-7 Frled L0lO7l24 Page 14 of 109 PagelD #: LL3
                                    #: 278




      httDs://nvcrubberroomreporter.bloesnot.com/2009/03/qotcha-souad-and-new-vork-citv-

      rubber.html

      Indee4 the Defendant deceived the Court and the EEOC in their Position Statement and in their

      Motion To Dismiss by failing to acknowledge their well-known accommodations called the

      "Rubber Rooms" or Reassignment rooms set aside for employees who are removed from their

     jobs but not taken offsalary. See EXHIBITS P,& and the blog'NYC Rubber Room Reporter

     and ATR Connecf'and website *ADVOCATZ.Iun." Exhibit P is the Reassienment Guide for a

     }'[YCDOE employee who has been assigned a home-based reassignment placement after being

     told not to show up at the school in October 2022.Thesercassignments have been open to

     employees placed there for the past 22 years,and they remain open today, Only now most

     reassigned omployees are at home, on salary. Plaintiffshould be one of them.

     The sob story given by the Defendant about'\rndue burden" is simply, and ouFageously, false

     and never suggests an accornmodation. The reason this was not offered. Defendant and the City

     ofNew York want to get rid of tenure, but they have been unsuccessful. That is the primary

     reason. By terrtinating anyone who could not , would not, or did not get the COVID vaccination

     by October 2021, and then being removed off of salary illegally and then terminated without a

     hearing Martin Scheinman could reduce the budget of the Defendant. He said this was not

     disciplinary, yet this was never supported by any evidence. No explanation about how this was

     not disciplinary has ever been given to the public. It is enough just for Martin Scheinman to say

     it is not disciplinary and everyone is supposed to go along with that.

     See ldatter of Gould v Board of Educ., Sewanaka Cent. High Sch. Dist., 8l NY2d 446 (1993) (A


    tenured teacher has a protected property interest in the position and a right to retain it subject to

    being discharged for cause in accordance with the procedures set forth in the Education Law

                                                                                                        t4
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 15 of 109 PageID
                                      l-7279
 Case 1,:24-cv-0L664-NRM-LKE Document #:  Filed LO\O7l24 Page 15 of 109 PagelD #: L1'4




      3020-a). See Kambouris et al., v New York City Deparbnent of Education of the City of New

      Yortg et al. Index No. 518863 /2022 (Decision/Order dated 110512023). Tenure status implicates

      the Fifth Amendmenfi "Knick v. Township of scott, 139 s. ct. 2162 (2019)


      I
       A property owner has an actionable Fifth Amendment takings claim when the government takes
      his property without paytng for it. That does not mean that the government musi provide
      compensation in advance of a taking or risk having its action invalidated: So longas the property
      owner has some way to obtain compensation after the fact, governments need noi fear thit courts
      will enjoin their activities. But it does mean that the property owner has suffered a violation of
      his Fiftt Amendment rights when the govenrment takes-his property without just compensation,
      and therefore may bring his claim in federal court under g l08iat tlat time."-

      The Motion To Dismiss must be denied in full.



              PLNNTIFF'S COMPLAINT PROPERLY PLEADS A FIRST AMEIYDMENT
                                RETALIATION CLAIM

      To set forth a prima facie case for First Amendment retaliation under Section 1983, Plaintiff

     must allege that (l) her right to her religious beliefs were denied to her; (2) she suffered an

     adverse employnent action; and (3) a causal relationship between the two existed in that her

     religion/religious beliefs was a substantial or motivating factor for the adverse employment

     action. Gronowski v. Spencer, 424F.3d285 Qdcir. 2005). Plaintiffproperly made those

     allegations in her Complaint

     In deciding a motion to dismiss, the Court is generally confined to "the allegations contained

     within the four corners of [the] complaint. " Pani v. Empire Blue Cross Blue Shield , lS2 F .3d 67 ,

     7l Qd'Cir. 1998). However, the Court may consider "any written instrument attached to [the
     complaint] as an exhibif materials incorporated in it by reference, and documents that, xl1fos,rgh

    not incorporated by reference, are integral to the complaint." Sira v. Morton, 380 F.3d 57,67
                                                                                                       Qd
     Cfu.20@-) (intemal quotation marla and citation omitted); see also Chambers v. Time Warner,




                                                                                                        l5
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 16 of 109 PageID
 Case L:24-Iv-O1664-NRM-LKE Document #:
                                     1-7280
                                         Flled LOlO7l24 Page 16 of 109 PagelD #: TLS




      1nc.,282F.3d147,153 (2d Ck.z0l}(observingthatadocumentis "integral" if the complaint

      "relies heavily upon its tenns and effect") (intemal quotation marks and ciation omitted).

      Plaintiffdemonshated in her Complaint that she engaged in speech protected by the First

      Amendment namely discussing herreligious beliefs, that she suffered an adverse emplolment

      action, and that a causal connection between the two existed, "in that the speech
                                                                                           [about her

      religion] was a substantial or motivating factor for the adverse emplolmrent action." Burkybite v.

      Bd. of Educ. of Hastings-On-Hudson Union Free Sch. Dist.,4l I F.3d 306, 313 (2d. Cir. 2005).

     The tbreshold inquiry in any First Amendment retaliation cas€ is whether the employee was

     speaking as a citizen on a matter of public concem. Woodlock v. Orange Ulster B.O.C.E.S., 281

     F.App k 66,68 (2d. cir. 2008) (quoting Garcetti v ceballos, 542 u.s. 410,418 (2006)).

     Plaintiffs speech is constitutionally protected if she was speaking both (l) as a citizen rather

     than pursuant to her emplolment duties, and (2) on a matter of public concern. Dorcely v.

     Wyandanch Union Free Sch. Dist., 665 F. Supp. 2d,178,205 (E.D.N.Y.2009) (quoting Garcetti

     v. Ceballos, 547 U.S. 410,418 (2006). She was and is protected.

     On a motion to dismiss, a reasonable inference of a causal connection is all that is required. See

     Posr v. Court Officer Shield # 207,180 F.3d 409,418 (2d Cir.l999) ('[T]he plaintiffs pleading

     need not clearly establish that the Defendant harbored retaliatory intent. It is sufficient to allege

     facts which could reasonably support an inference to that effect."); Rivera v. Cmty. Sch. Dist.

     Nine, 145 F.Supp.Zd 302,309 (S.D.N.Y.2001). This "can be established either indirectty by

    me'ns of circumstantial evidence, for example, by showing that the protected activity was

    followed by adverse treatme, rt in employment, or directly by evidence of retaliatory animus.*

    Morris v. Lindau, 196 F.3d 102, I l0 (2dCir.l999). A court must "exercise its judgment about

    the perrrissible inferences that can be drawn from temporal proximity in the context of
                                                                                                 [each]

                                                                                                          l6
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 17 of 109 PageID
 Case L:24-cv-0I664-NRM-LKE Document #:
                                     17281
                                         Filed IOlO7l24 Page 19 of 109 PagelD #: LLB




      providing services that burden their religious beliefs." Presrunably, these categories do not

      include the City Agencies such as the NYC Education Deparhenl police, fire, etc.


      But the Court of Appeals saw this ruse of Mr. Scheinman and threw out the September l0,2O2L

      Award. Unforhrnately, the Citpvide Panel decisions were equally constitutionally zuspect. See

      E)CIIBIT N, a Decision by the Cityvide Panel, where no effort to accommodate was made,

      only the general 'trndue burden" argument. Another useless statement that came from the Panel

      was "Did not meet the criteria'' for an accommodation. The Citywide Panel had no testimony by

      any Applicant and kept the people who made decisions secret as well. This constitutes a

     violation of due process 14ft Amendment rights held by Education Law 3020-a. plaintiffwas

     d€nied her due process.


     The Problem Code exposed the lies given by Martin Scheinman in his Septemb er 10,2021

     Impact Bargaining Award, namely that the LWOP and termination of employees of the NYC

     DOE were disciplinary, because the consequences for anyone not handing in a valid COVID

     Vaccination card on October 4, 2021 were so grave: punishment and disciplinary in effect and

     intent. Plaintiffwas punished for misconduct without any due process.

     The Court in DOES (lOth Cir.) stated that:

     '''a govemm€Nt policy that requires an intusive inquiry into the validity of
     religious beliefs violates the Establishment clause rlgardless of any
     purported government interest." 100 F.4th at 1269.,

    Plaintitr, a stellar tenured employee without any disciplinary action against her in her teaching

    career' was suddenly put on a Leave Without Pay (LWOP), her fingerprints were flagged by a

    Probleur Code whioh meant she was blocked from ever getting a job with the Defendant due to

    the stigma now attached to her file, solely because of her religious beliefs. This problem Code is

                                                                                                        l9
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 18 of 109 PageID
                                     #: 282
 Case L:24-cv-0L664-NRM-LKE Document 17  Frled tOlO7l24 Page 20 of 109 PagelD #: LL9




      not secret, and aprincipal and others who inquire about a DOE employee are given the

      papenvork. See EXHIBITS II, I, J . Defendant punished Plaintifffor believing that the COVID

      vaccine conflicted with what she could put into her body, and therefore she could trot get

      vaccinated. The Municipal Labor Committee (MLC) is a Group in which atl the unisas
                                                                                                 "r'"
      represented in New York City. In a letter dated August 12,2}2l,Chaimran Harry Nespoli wrote

      about the disciplinary pricess of the COVID mandate. See E)CIIBIT
                                                                               Q. The claim that LWOP
      was not disciplinary was and is unfrue. However, the argument about the lack of due prccess

      under the Scheinman Award is moot. The Court of Appeals in Kane-Keil threw it out.

      An additional proof of the "misconduct'that the Defendant was pushing as "not disciplinary''

     can be seen in the decisions made forNYC DOE unvaccinated and terminated employees who

     requested unemplolment from the Deparment of Iabor. The employees ofthe NYCDOE were

     denied unemploynent due to "misconduct'. E)CIIBIT J. Who represented the terminated

     tenured employees at the Appeal hearing? None other than the insurance Company "Experian",

     and the Company used the problem Code to deny all applicants because of it. Plaintiffargues

     that she has pled facts sufficient to prove more thanan inference of discrimination against her

     employer, the Defendant, and she does not rely on simFle conclusions. It's a fact that

     Scheinman's September l0 Award discriminated against all tenured teachers who applied for

     religious exe,mptions, but held out on discriminating against a select few.

     This action shows invidious discriminatory animus yithin a disciplinary policy put forth by the

     Defendant as valid under the law. How so? Plaintiffdoes not belong to the Christian Scientist

     faith, and her religious beliefs (Catholic) are personal. She did not fit into the Scheinman criteria

    for getting a religious "exemption". clearly the criteria prescribed by the Award is

    discriminatory, and intentionally so.

                                                                                                        20
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 19 of 109 PageID
 Case L:24-cv-0L664-NRM-LKE Document #:
                                     17283
                                         Frled L0lO7l24 Page l-7 of 109 PagelD #: 1-16




      particular case [ ]," Espinal v. Goard. 558 F.3d llg, l2g (2d Cir.2009). Where a plaintiffasserts

      enough direct evidence of retaliatory animus to create a triable question of fact on the issue
                                                                                                       of a

      causal connection as here, a longer lapse between the protected speech and the adverse

      emplolment action Defendants not necessarily "conclusively establish lack of causation.', See

      Mandel v. County of Suffolk, 316 F.3d 368, 394 (2nd Cir. 2003).

      Reading the complaint broadly and drawing all reasonable inferences in Plaintiffs favor, the

      complaint alleges sufficient facts to state a plausible claim for retaliation.




                  PLANTIFF HAS ADEOUATELY PLED A STIGIUA PLUS CLAIM
                            AI\D FRAIJD IN TIIE INDUCEMENT


     The fraud of Arbitator Scheinman cannot be ignored. He deliberately threw away Constitutional

     procedures of due process for Tenured employees in order to make sure er,ery employee was

     terminated who dared to challenge the COVID Mandate. Also, he ruled that everyone had to ask

     for an "excqltiod', when under Title VII there is no mention of any allowable 'exception,, only

     an "accommodatiot''. So, Mr. Scheinman made up an alternate route for the Appeals that he

     knew would not worlg then denied everyone. He, and the Defendant, wanted to stay in conhol

     and did not want any arbitator at a $3020-a not terminate an employee who remained

     unvaccinated. So when Arbitator Martin Scheinman issued his Award on Septemb er l0 2021,

     ordering every IrIYC Departn€nt of Education employee to get vaccinated with the COVID

    vaccine and hand in a valid card by October 4, 2021, oryou would be put on lrave Without pay

    (LWOP) and subsequently terminated and your health insurance taken away, he created this

    lawless employment ruling out of thin air. Mr. Scheinman then hired his company, Scheinman

    Arbitation and Mediation Services, to arbitrate all the lawless exemption appeals.

                                                                                                         l7
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 20 of 109 PageID
                                     l-7284
 Case L:24-cv-0L664-NRM-LKE Document #:   Filed IOlO7l24 Page L8 of L09 PagelD #: LL7




      On June 27,2022 Scheinman issued a new Award in which he apologized to all that he had

      created the LWOP for no reason other that he thought it was right at the time. He deliberately

      discarded the Constitutional 3020-a arbifration process that he wrote into the UFT contract when

      he was on the Negotiation Board. Article 2lG describes the process in the Law, when can be

      read in EXHIBIT L. Rights of Tenrued Employees. See also the Scheinman June 27,2022

     Awar4 EXIIIBIT O.

     The Kane-Keil Panel also sounded the alarm on the fraudulent use of "religious exemption" in

     Scheinman's Award:

     'lAt times, the parties appear to use the terms "exemption" and ,.accommodation"
     interchangeably. As we use those terms, however, eximptions are different from
     accommodations. The Vaccine Mandate includes exemptions for certain objectively
     defined categories of people, like delivery workers. Those who are exemptid from the
               are not subject to its terms. By contast, employees who are subject to the
     Y*9tr
     Y*AaJ" can request accommodations under Title Vtr and analogous stati and city law.
     see infra at43-44 (discussing Title Vtr's requirement to providJreasonable
     accommodations); see also We The Patriots USA, Inc. v. Hochul, 2021 WL 5276624, at * I (2d,
     Cir. Nov. 12,2021)."

     In fact, when researching Religious Exemption Laws, New York Sate has no religious

     exemption law related to the provision of senrices. What states don't allow religious exemptions?

     currently, only six ststes in the country do not allow religious exemptions:
       . California.
       . Maine.
       . Mississippi.
       . NewYork
       . WestVirginia.
       ' Connecticut.
    There is a footnote to this, namely that "Targeted state religious exemption laws permit people,

    churches, non-profit organizations, and sometimes corporations to seek exemptions from




                                                                                                       l8
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 21 of 109 PageID
Case t:24-cv-Qt664-NRM-LKE Document 17
                                    #: 285
                                        Flled LO|O7l24 Page 23- of 109 PagelD #: L2O




      Defendant committed fiaud on the employees who applied for religious exemptions starting in

      2020, when the Defendant made a secret deal with the UFT to change the terrrs of employrrent

      as well as the articles in the conhact (CBA) for employees without these issues ever being


      brought to any employeg including Plaintiff. (Exhibit Q). Defendant rhen gave, reluctantly,

      false hope to more than 1000 employees as they were told they could apply for religious

     exemptions from first the Scheinman SAMS Arbitrators, and then the Cityvide Panel. Both

     Panels were bogus in terms of state and Federal Law. Denials were pre-set and pre-textual..

     Additionally, Scheinman's September rc 2021Award was a ftaud because he wrote that LWOP,

     the wholesale, unilateral suspension on October4,2O2l of tenured and untenured educators who

     could not/did not/would not get the COVID vaccine, was "not" disciplinary, but it most certainly

     was disciplinary because of the very secret placement of all unvaccinated employees onto the

     problem code. See Exhibits H: Barry Black Declaration; I Betsy Combier's Declaration and

     Eric Amato's email; Ex. P. UI denials due to "misconduct"; Furtlermore, Defendant is

     deliberatelymisleading when they insisted that the Problem Code is not available to anyone

     outside the DOE. It most certainly is. See:

     The New York City Department of Education's fiProblem Codeil is an Unlawful Flag on
     an Employee's Fingerarints, Parentadvocates.org,
     https ://www.parentadvocates. org/index. c fm? fu seaction=article&articlelD=8 8 84
     In IIYC the Absent Teacher Reserve and The Rubber Room Are Both Strategies For
     Unlawful Denial of Tenure Job Protections
     https://www.parentadvocates. org/index.cfm?fu seaction=article&articlelD=895 8
     The Problem Code, Fingerprlnts, The FBI, and the COVID Mandate
     IIYC Rubber Room Reporter, February l2r2D23
     htps://nycrubberroomreporter.blogspot.comt2023l02/the-problem-code-and-covid-mandate.html
     The Hldden Rubber Rooms of New York city create a F[scar Nightmare
     https://nycrubberroomreporter.blogsoot.com/2020l08/the-hidden-rubber-rooms-of:new-
     vork.hml




                                                                                                    2l
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 22 of 109 PageID
Case I:24-Iv-OL664-NRM-LKE Document 17  Filed LA|O7l24 Page 22 of LO9 PagelD #: LZL
                                    #: 286




                                                   CONCLUSION

      where aprop€rtyrightincontinu.u*nro*IJilNewyork state,s tenure sysrem, rhe

      recipient of such a right may not be deprived without due process. See Cleveland Bd. of Educ. v.

      Loudermill,4T0 U.S. 532, 538 Il9S5l. Plaintiffhas successfully pled in her Complaint that the

     NYCDOE failed to provide a reasonable accommodation and as a result, discriminated against

     the Plaintiffon the basis of her religrog unlawfully discriminating against the Plaintiffin the

     terms and conditions of her emplolment on the basis of her religion, in violation of Education

     Law $3020, $3020-a" Title Vtr of the Civil Rights Act of 1964,42u.s.c. $ 2000e, et seq., 42

     U.S.C. $ 1983; N.Y. Executive taw$ 296 (New York State Hnman Rights Law); and N.Y.C.

     HumanRights Law.

     The claims contained within the four corners of Plaintiffs Complaint go straight to the heart of a

     substantive due process claim. The very idea that a person's livelihood througb tenure, which is

     supposed to be determined through a fair evaluation of an educator's job perfornnance, is denied

     in opon and blaant retaliation for requesting an accornmodation
                                                                           - i.e. a "rubber room" or home
     assignment during the pandemic after not getting the COVID vaccine - is outrageous and

     unconstitutional in the widest sense. There is no reasonable interpretation of the actions by

    Defendant alleged within the Complaint that could or should be excused as negligence or

    mistalce.

    Plaintiffs termination was pre-planned and part of a stnategy to deny state and Federal laws and

    rights to certain tenured employees of the Deparhent.. Even if such a dsfinition is up for debate,

    it is inapplicable in a motion to dismiss stage and a simple reading of the Complaint amply

    demonshates that conscience shocking behaviorhas been sufficiently alleged to permit this cause

    of action to continue through to discovery as a matter of law.

                                                                                                         72
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 23 of 109 PageID
                                      l-7287
 Case 1,:24-cv-0L664-NRM-LKE Document #:  Filed 10107124 Page 23 of 1"09 PagelD #: L22




      WffiREFORE, the Plaintiffdemands judgment against the Defendant for all compensatory,

      and any other darnages permitted by law pursuant to the above referenced causes of action. [t is

      respectfully requested that this Court dismiss the Defendant's Motion To Dismiss in its entirety,

      and grant Plaintitrany other relief to which he is entitled, includi"g but not tirnilsd 1e;

      l. Awarding Plaintiffher tenured position and salary given to her before her termination in full,

      with benefits; and

     2. Awarding Plaintiffall the backpay and financial d'rnages that ensued after she was placed on

     a lawless and unconstihrtional Leave Without pay;

     3. If the Court dismisses Plaintiffs Complaint she respectfully requests leave to file an Amended

     Conplainq

     4. Granting such other and further relief that the court seems just and proper.

     Dated: October 6,2024.

                                                    lslMaurem Hurlev
                                                      Maureen Hurley,
                                                      PlaintiffPro Se




                                                                                                     23
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 24 of 109 PageID
                                     17288
 Case !:24-cv-0I664-NRM-LKE Document #: Filed L0lO7l24 Page 24 of LO9 PagelD #: L23




          Exhibit K


         Groff v DeJoy- American Bar
Case 1:24-cv-01664-NRM-LKE            Document 22         Filed 11/01/24       Page 25 of 109 PageID
Case 1.:24-cv-QL664-NRM-LKE Document l-7 Flled IO|O7l24 Page 25 of l-09 PagelD #:124
                                     #: 289



    ltuooVI,2024




    IJ.S. Supreme Court Ruling in Groff v. DeJoy
    Clarifies lfeightened Standard for Evaluating
    Religious Accommodations
    Natalie Pattison

   https://www.americanbar.org/groupMaborJadpublications/labor_emplolm.ent_law_newVwinte
   r-iszuo-2024/supreine-court-ruling-groff-v-dej oy/

    Share:



   The U.S. Supreme Cowt's lwe2023 nrling in Grof v. Deloy constitutes a major change in the
   legal landscape involving religious accomnrodation in the workplace. The Court's decision
   clarified a heightened standard for determining whether a religious accommodation causes
   'lmdue hardship on the conduct of the employer's business" under Tifle MI ofthe Civil Rights
   Act of 1964.

   Under Tifle VII, ernployers must reasonably accommodate an employee's 'teligious obse,lrrance
   andpractice" rmless the employer shows that zuch accommodation would cause '1mdue hardship
   on the conduct of the ernployer's business." Under the long-recognized and familiar standard for
   showing undue hardship, employers were not obligated to provide a religious accommodation       if
   the accommodation posed more than a "de minimis cost" on the errployer. The "de minimis
   cosf' standard was a telativoly low bar for employers to meet--especially in comparison to the
   mtrch highq standard rmder the Americans with Disabilities Act (ADA), which requires a
   showing thar the accommodation imposes *significant difficulty or expe,nse" for rmdue hardship.

   T\e Groffcase involved a postal worker, G€rald Groff, who zued the United States Postal
   Service (USPS) for failing to provide him a religious acoornmodation. Groff, an evangelical
   Ctristian, requested an aocornmodation that would exempt him from working on Sundays
   because he believed that Sunday should be devoted to worship and res! not work, for religious
   toaso$I. Although USPS arranged schedules so that Groffwouldn't have to work on Sundayr,
   including having other carriers cover his Suday shifts, there were times when these efforts
   faild due to a shortage of available carriers. Groffeventually resigned after receiving discipline
   for his reftsal to work on Sundays.

   Groffsued his enrployer for failrue to reasonably accornnodate his religious belief and practices,
   arguing USPS could have accommodated his reqtrest for exermption from work on Sundays
   without imposing undue hardship on the conduct ofUSPS's business.

   The Court held that showing more than a de mlnimis cost ls no longer suffcient to qualify
   as undue hardchip uuder Tltle VIL Inst€a4 and without deciding whether Groffshould have
Case 1:24-cv-01664-NRM-LKE             Document 22         Filed 11/01/24       Page 26 of 109 PageID
Case 1,:24-cv-O1664-NRM-LKE Document 17  Filed LA\O7l24 Page 26 of 109 PagelD #: !25
                                     #: 290



    bee,lr accommodated in 'his case, the Court clarified that Title VII requires an e,mployer that
    denies a religious accommodation to show that the btuden of granting the religior.rs
    accommodation would result in "substantial increased costs in relation to the conduct of its
    particular business."

   The Court's docision included review o{, among stfusr things, ordinary meaning. In considering
   ordinary meaning the Court reasoned that undue hardship 'hleans something very Otrerent tom
   a burden that is merely more than de minimis, i.e., something that is 'very small j16ifling."'The
   Court also reviewedthe 1977 decision in Trans World Airlines, Inc. v. Ilardison, 432 U.S-. 63
   (1977),which has been interpreted as holding undue hardship mear$ d6 minimie cost. The Court
   stopped short of overturning Hardison but explained that that the de minimis interpretation of
   Hardison is e,lroneous and showing'lnore than a de minimis cost as thatphrase is used in
   common parlance, does not suffice to establish undue hardship fider Title     vl..
   With respect to the new "substantial increased costs" standar4 the Court explained that
   employers must talce into account "all relevant factors in the case at hand, including the
   particular accommodation at iszue and their praotical irnpact in light of the nature, size, and
   operating cost of an ernployer."

   The Court gave a few indications of what rnay or may not constitute undue hardship rmder the
   substantial inceased cost standard. For example, the Court stated that a ooworker's dislike of a
   *P-      religious expression is not enough foiundue hardship, nor are impacts on coworkers
   tmless there are corresponding effects on the "conduct of the business.'The Court also stated
   that if an employer faces a situation similar to the one prese,lrt
                                                                   d  n Grofi it is not e,nough for the
   emlloyer to deny the accommodation because it would require other workers to work overtime.
   n$er' th9 employer would have to evaluate other optiong such as voluntary shift swapping. In
   otherwords, the e,mployercannot simply analyzewhetherone acconrmodati-on is reasonabtg Oe
   employer must ty to find a way to accommodate the enrployee.

   Notabl$ the Corut suggested that *a good deal of the EEOC's guidance in this area is sensible
   and will, in all likelihood, be unafrected by our clarifring decision today." The Cogrt also
   {$ined to align the undue hardship standard under fiUe Vn with that unde" the ADA. Thus, the
   ADA standard of "significant difficulty or expense" is still a higher bar for employers to reach
   than the substantial inoreased cost standard announced by the court n Grffi

  \\e Groffdecision changes the wayrehgious accommodation requests shouldbe evaluated when
  determining whether the accornnodation would cause undue nar&nip on the conduct of the
  employer's business. Inoking aheaA employee requests forreligiousaccommodations will need
  to be more carefully considered and documente4 regardless of whether those requests are for
  exe'nption from a vaccine mandate or for brealq shift, orjob duty modifications.
Case 1:24-cv-01664-NRM-LKE    Document 22 Filed 11/01/24 Page 27 of 109 PageID
Case L:24-cv-0L664-NRM-LKE   Document #:
                                      17291
                                         Filed LOIO7l24 Page 27 ot L09 PagelD #: L26




    Exhibit L


    Rights of Tenured Employees
 Case 1:24-cv-01664-NRM-LKE                Document 22 Filed 11/01/24 Page 28 of 109 PageID
                                                 #: 292           P  e 28 of 109 PagelD #: t27

                            u"t.tl*
                       st
                       tr*Fq l6uru
                                   #Hffi"
                                        "-
                                           llmu Yoilt
                                       xssrnf,unii'
                                                        -
                                                                                               pl* loral4ll,iltt
                       Et tfirfr[Ubn Avc' nimiinf eBn
                       Atttny, ll€ilyorlr{Itgl
                                                                                               Fnr: Frq{[!{st0




                                 $p,ecfrnr rUsfre   t Teltutfi Etrry&rylrrrof $a
                                   ttorl" Yutt Gter oawtuniF-ift,Gad;--
                                             lsearh          &€t       A?CS

                                               ryrt                            ttoce                   Eei{iqr
                                                                      Frrlttts lllry

 Tenut€d hriluirfuab c'nnoil be disciFinsd ar
                                                    r€mot€d frun snntornat effieft fiil
                                                                                        Tnrt carEe' firnrrsrt b
  ffi   ffi ffi *ffiL,Tfr ffiH,l*H-f, r$il[#!ffi ll,                       sel lbrfi in Etmilm tjrw $g0aO€,
                                                                                   $uh. C. PBrtlt€,
 Chrnsr




 ffi;
 lhs arnplolFds rishts
 penoH#Sv*:r.
                         ffi;drG;ffiil''ta
                                              'uil
                                                      br dttmir-*,usi,Bd',ilfr,"01d; rc*,pt n*nn* cr
                                                                                                     Fy

 iLllffiB,,ffiffi ffiffifffi :ffif, lffi iXffi [H#.rsdrnmmB€nrlcvorrnisaurducrffi eeprnrrron
 Surmtl*lra. hSFAhn gmrtng

 ThE efiFkyqe nrgy l
                                                                          and ilre Frar d'r'm*ldffi her-sf - An
ffi H,Hffi#.mmffi ti{H!fi ff-l-l*es
ffig1mfr**mff*lm*ffi
Tm*t|,tgonnqettffiq&o
fie'qnq64rgs e[a[ tG Erfiinahd wBhout a h.eanng
ffiffffi;?Hffii;                                        upon conrric&n ola rp1 gftense.s dsllnd
                                                                                                      br Educ*isn
                                                                                                         rd'sur.
l.lqsfun nacua:trq$uiP h ngqu€f




#ffigmil"t" ;ffi
1. Wnnift trO@$cof n




EiirUffi ililffi,e on rhe em'tayee"r H;fi* *nrev thdl ue arnrrorizac t il;ffi ;ilffi;ffid;
 Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 29 of 109 PageID
                                         Filed LO|O7l24 Page 29 of 109 PagelD #: I28
                                     #: 293
 Case L:24-cv-OI664-NRM-LKE Document l-7




  il#
  *- lf frg omFyeo u,Bi
  d#minefiecgaean
                                                                                                         'ffiT:
  llsrdnr Offfcnr {rleclhn nrorpt

  hffi?ffiffiTrTfiH:l*:.**r
  x. l+F lqFlr[^d
                            hearinfl ,'qragt fre deilo*racreuryof                                  rtrE bcsrt rrra' nornfl

                          sudr nofficrifiur.-uil-ltmmiesloner shdl rtqu€st $at he tunericsn Arilseton
                                                                                                            i{eeodrtbn
  prutrfida a liet sf nEnH ct holutaroc
                                               C DobnF4i G# J*        ittft-frHHtr;irh            r31$rsrr b',o'ftrphical
  llm#rnhg                  ths hdlvtorel. rne rixnmlsslliter maF dit*iflt wrd s,rdr ltst to,bofir port!e*.


                                                                           rffi
 tl' FrctugEs bmrgm.FuEuEnl b
                                     $3o20-b, wftere.€n- amploysc na8 rqneived    caruefltlw 6ffidirc nathgs,
 he emdurce aru tredoaru qtust;1df, na omrnissetneioirrurryeeo ufsntrflo
 tfip of.ecetsiry-oro!tst d P9lenltE! trdrd .frpfJr d;p"rr:#h* u                 hEsing  ffiag1 setedion wllhpr         I
 hslr 8€Hm wthin 7 daye, he oonrmbci&erslrdt app.,F,i rn uttrg mEet     4ree or fit b notiff
                                                                                          - rhe oanrmbsisrrer sf
                                                                             riimtrd-rit
 ffi fr ffi ,ffi n:iffi ffir,#3ffi h#figffi
                                        "   #;;illiliTnHi*'*",*,n*necrive


 !. !p     fmfiearln8looleence shdt ba prtuatE.
 e  ml q*titq 4q q?[ ho-ld a pirr-melru csntst€ncc *ihin r{FrE drys of rEsip of notica fism the
 oqmFtlsrtr wretnlru hte or her ertanoilrcE b Grib fn irnii-pmlnn, fn nE case o?e sEndf,d
                                                                                          ffi emedibd
 Sgqesamfrirn-
 s Flreryeggi $a0etrb hesFingc uhem lhoflnplqsEhEr remivsd":fisrqmdilaift€fftctiye.ApFR
                                                   '?                                              refltE$, the
 |ffiffi   ffiiir$,;              edtresiilru corrssiG-ffi            c#-;;;ffii, iiffi' *r,nmuru rre   fri,iiig
 l- Fa erpraditd Ss&lsb hsingl rdtere ht employee hes leoeivcd $_conaacrsus
                                                                            ftdfediue ApFR rdftge, tfu
                          pdtreen'ru a;ihdE;dffi'f dil" or ,"cs'rng nffi €'ffi"rr's
 Iffi,!,ffiilrffi
    rc
                                                                                          u,E fr;nhtg
!: 4        ry+e8-mg -T$ry.e fre-.tnnrirq- gfilctt hae tre gonrer h: a-l iens eubposn*t b.l rlc€r anrt d6ctde
mdons aH aspffiqB
evldEnce br Dou| Frry$ TlF.ry
                                     einir' neim c.1 egt q
                             and d-iaEt neli"6'anl iEco strtilds
                                                                          ff
                                                                         ft[ ard ,Err drmrqsun sf wttr*sea anu
                                                            rtt*rrd}lngo ts erisunr rhrr tro h.adng h cofl6ua6urt
urlfrin fte smrbry fl rrre{nes
0' Gfrier88y' nn{ea*rg motbtls must h made on
                                                    $rifron notics to se hgdirrg ffioer and admrro party.apeest
5 dErf tefrlE he pr+li'eafing cotrrursnc€.
qed                                          Attnre.iri-liil{i-@"
           unircd. tfilurs. hr-arpuoroo hearhEi
                                                                        nor n6ds as F{olrflr*d br hs*6 *rEfl be
2 dryatahm Ure pr*heartrlg rniC,En€E:--            "fidgt
                                                           niri." dr,",iiui""    pilryHrtr be nreda nr tshr than



1- The haarllg uflt
e flto stnF*ee
                      b
                                                            fflr*ry
                                                        fih nr herc{f, hcft&lng mffihg any addtiural
rnqflnns and Em[Ets]Barc ar oppedil,i-6ts*ufy"oiirriiEiEwrn
brru$dmdbigrffiu.                                                              hdnr, txr,{.sulr, llpernruao {ftf,fi flot
                                   De ,EPIEs€rtcd bv couuet' f,r,rl msv eu@ena ard
ffif#ffi**m                                                                               croaa.enmine wurms+ Ari
4r An trqem       noil^{ tlri treatrg Gfiau,Pg F4 at lfte ergense of tfre cornnrlss*ner. upm res,e€i. fis
                       aqey-srtrin-dtiunorn-tirarde,'-r-H
i!' n ?5ng_ggngf
:ttp  trlE nsanns of,lEr Egedc b bG rsplssd
qgl€ed epefl lEnba9rlefttirilhhibusd-r#dqrs,qp he-padies flll b nofiry tle_ psremfuriner of ftrh mutrrlly
                                             ne corfirneimro"aatsetect61e,eplaaemffit
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 30 of 109 PageID
                                      l-7294
 Case 1.:24-cv-0L664-NRM-LKE Document #:  Filed LO\O7l24 Page 30 of 109 PagelD #: L29




      €; At the osnrlushn q lhe n*imgryy, lh.? hlsrmg offit€r may ellow lh* pq[t$ to subrfilt fiEffiotqrda of liln;
                                   noro*aU ttla 6ffi fira nre hering oms* a'requi'Ed to ,e'rl*r i e*irnr;:    -"      -
      !rytfl._$f, T$qfi.t g.ry
            gry'                bE camHEEq s,ihin 60 daye ot th gre"treuhg m-ntsE$e. FEssE gas Horr fier g|e
      L  |          ryFqf T"*t
      qqp ileQss.eppheDb b, ptrfrcilhr ryqdfted tuEdrqp.
      0' ln generd' aE€vft!0nFrnust bEsufunlffid $ithlnI25 depst the fihg of cltsrgB8end noaddllignalsuidsns
      thdl bess€nbd &r ardr limc, sqafl e*eoruinary akurhsnances pefrsao aonta d Ur" Fsfi€G.


                                   upon rurosqtisn ottho employee'e certificati,Dq an orpaditsrl
      1- $1e;118_.19ry.${                                                           trssring must bs hetd
      e  rnengErlngslEtlconnencsvritrinTdeys af fie pre-tesring enhlllncearO bfmiledOordCey.Ttrshaadno
      nlil not Ee adjouned €tcept upon nquairt ot a par$ snd                     g-ood   o6d ;fi-iJ-Bt.d--dt ffiffi,rfi
      01ft6,                                                         "=nti-tur



      1' T QF ct|*ges alp tosed uput dlslione of plryclcal or gglsEl sure sf e sfildsrit, an ElFsdiHl trearing ffiJsfi
      b3 hEH.
      lt ltne1meulBthdlmmmrna*url.h[ eeven drye rnrhg.p{€"heaingconHurrnrand,ahallBemnplEtod nllhln
      :b,rydFFffi er&sryryqngco*rcranco.ailoumminisrmry;d"dl*tul-rl,$i:dilti;i6;'fr-"d;r;
      Fryfl!$t:ry,gry4qqf         ste tlearinsoffidde€rrrulresuftrdd"hfr Buorrr aurJfrftiiryfiFriililfriif,
      HF tcquHfilg g€dt sld an {n$ntca rrruuld nsrlt tf   tre afrarrrnent unm riot
                                                                          grarUd.



  .ll$jf{ryl*g-*F               sleging qoqgpffitp Da€ed upon two cortrecrnire lnsffBoilr'€ AFFR rafiingn. Fr
  ItlflEtj[SIflf,lTJglg
  rL  re ne8rElg rnucr
                                rro{rEbs_trcld, butfiEho€rdt5 rnrnqulrd bbr{ngc}raEes
                           yryl I qq" $ pre_hea*lng csntsrenee irnO ta mmp-lgted ilfiir eO dry$ fDttantng
        r
                       Tgl                     _of
  $E dab that tie nnptipe le+reebi ilrc rniritq_
                                                     _+d!o-ffi;r,r ,"r not t* dndilc"frdi frurf i*tni'il.
  hcut4g!616d1s0 dew' €rcspitdt€{€ urehearhfoflt#idirilili4wurd[re                         detry h torh AfiE'6Jlv iiloio
  ru
  r- {lrfqsq
        .Ine
     fia€EE  ry.ano.an mlume ffirfu rssrn
                 fial ha toail nai
                     muEt €llegB
                                                                   n rho   aeFH'*i*"r#ot s*tHa.
              -smpgp
  inenltsfient PHn er fn                                {erdoffi srld cu[€tarilielty inplerno#m a Hiher or prlnr:ipd
                               hnorhg 61a nfgt si'rtuatiEn iri *lrfcfr ti anit|oll|fr" -' tiled tneffidiuo gtd
  heinrn€dhblrpr€cedtrucrri*rha rrrednptoy"adrar*-iriGropare.- ---:r--r-- ",Es
 g!ffi'Hdmerr*oqt
 1' TtE B0tid ltun ryg:*rilw alluglng lrrcsmFehnoe whsu slry E€cfier or
                                                                                                   ilinrfrral reoaftffi rlrce
F$$ff_Irogp ryq nflrqa,in !,hur caEC ;ri e$ed-ibiih*rlng'muslb€ lud. -
ttFff#trFtrfriHH:ffi',H3-fi
fu
                                      'trfl Ttf;Hffi ,ffi ffi,T-HHffittrxio'll*ff
    tffidng Dryoilt 30 cay*,-ffiFt-rilE6
Ettstrdmffiilof dtE Pquffrrcpertuancm FF  Fanrg-fficr?-agwriltnes tr*urJoiry b boilr rils6n6s6y
                                      *ri*uorffiurf'ni"ilnhEoqFrrpmefltilBrE ngtgpnpd,
[sshr
ffi



t' W[h ha twcencqr sf ergedlbd BEginSE, tro heeilng ofroBr €nHil r€Bdere rdthn dscblan
fis lsrthsadrgdab.                                                                        wiffiin 3Odry*of
2' r'sr mffiad hqtfiEc. tre haarlng oilllcFr Ehdl rsldtr a wsbn docldofl
dab.
                                                                         riurin lo rlays of flre blf lr*irg
3' The wmnrirelaner mu$_lnmEciat8ly hn .ard oogiea
4' The trearirg ofrcar shan t€nderi-inild-dadf-bu
                                                    dfte dEoisim to tha Dartes,
                                                   [d  irrfi;tugrngs of fBct-trrd concturimq, b*ert upor
tr€fiH[rotofifre[ trbsecr mirg"]ind-ihil;6diiFr*&;iromaracilFr.
ceohohrge                                                                    Faru. BsdnirilF€rn@lesan
   Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 31 of 109 PageID
   Case 1.:24-cv-O!664-NRM-LKE Document l-7
                                        #: 295
                                            Ftled t0lO7l24 Page 31- of 109 PagelD #: L30




    5' ln ftoc€ ceEss n'biE g;enltly tnWd€d, suoh penalty may be a nriflen rcprimand.
                                                                                       a llng, a rrspsrdsn lbr a
    frlsd efla rtrrsut Fsy. or dilsm4s;Nt-1*
    p. ln datrmlnlllg.Fglrefiy, tE hesh$officsr,chrdlgirn
                                                          ryr*q{$eormidsation h.$te psnalty ncomnrecded by fre
    !H!, sld rirfis hst[d ofrter imFfiffi s affi€refp6dt$,-uroi
    lhe,shrngE peug Dased upon tic rrgoord,
                                                                   ng heding          rfiffiffid
                                                                                          hdlcen the reffi* tu
    7' ul'i[lh 16 deya of &9 reslil ot lhs tmarlt€ offiel,g decielon, fie bosrt ohail implsmeru
                                                                                                   $a decl*n. ll tha
    *s**'n*#ff!ffilHiffitffiHffiffii$ffi.
    ffi|tr:#t             of the diolsef' ne or sht ,nirat G *sbtad-'r hb or her pr€i on nrilr frrll pay#*i; p"ri"d

    8. The kfim omoe
    fttoloqa as demec bY dra slui Fmdtoe Gn a"o eures
                                                            $giri$s. ii     n
                                                                                             ;m    ry m loard wem
                                                                          rrgapE oficer finoe {hgt dr ot rhe dwqns
    wn trvcorry' ho {qrrry @;t["F;e+ thg dd-b relmuwr" bo& th ernpptree €nd fu depsunenr
    r€$sgnsbF ar€ilg rhs uafu tmura.-lr na-dffi-;ffi& ild;t!r$
                                                                            mln h* rm sl ot ilrp darye* rvon
    llP-fi+ftl'hsslng:ofterahdloderilte'berd           ti"rdiiffi*6" eorgon olilre reg'srebtsco6tr tnoflF€d s 0re
    deparllgltald hqsnphtBe.

    SsEEsl
    r' tH lster &an l0 dry.6 a$r
                                 ryeflot ol tha heilhg otuet'e dac&lon, slthgr s]e empblpe or rha bffi{t rrw
    l{e aT.sPgicattilr !o-he lleryvo* Oan-Supreml-
    puauant.b Cieil Racdca LEqr arrrt Rules SIE1{.
                                                       c*ft b &s ff fiffiWrrefiearilE ofitcet'erlection
    2' Tfrfr frlln0.of tho pe-ndonW af an appeaiehatt not
                                                            firy fre [mplonwrEflwr sf ille bwlrg officeda deckilpn,
    BFdodqOdRhlils
    r an.Enplqsc rrq uqs s[victcd d a lEbny crima_ es spgdnsd h Edl$eilofi tar g*ffi<fr](b] ftaT
    coruic$st r*rflrsd' iltE snptoy*, upon                     -tc                                  hb cr hef
                                              epttcaury. bral      onmed b tlEG-trialtil#-iCi-;ili;ti;;
    ernshmenle trrlcbd, br fie psiod or nina ed,iraint dm flre deb ;Iffi-F*ts#
                                                                               H tiFd.tu or fre doctahn.




mfr#rBiffi iAffi ,T.'i-#-ftifi ,ffi rT.ffi                                 ;ffi T,$:Htffi ffi ,m
      ffi ofldrnb rrrqsr ft€ e0t8,1e lfrlPt y""f dlird-,il6ie-inai-fi1-euri rLrciiione b nerr H.A sld tlsurerrdlg
stoogEs

's"ihfr-"@Flt'
lgamhlsbrdgdoffid r
    ,fu
Mrffiemedcr                                                           :Hgrrffiffi#m
                 &lacnffint* nilc irdudton lt drnfud-1il';ffiy-itr,rpoota oru}, end cstng{ bo
@bor. rt$tqsc dducrhra rdl sbo ru6G- i.Ganiuo*                                                urrd lbr ompFynrecl rchtcd
&snaif,on ffir  qlF tlB tanailirn lcote inl ,mteln ;uatt#ddsr:omrrcoslrrJ.iis,ri         resr€rlcsd ,t fisfuldi thnhg trre
                                                      iJffi'tq*n0c._i_;-***ttBd deot'lor', hctudhnil brilE
tEbmertrffis and frd nmosso grpn"a;;iu, ,iU'er-ditr6'fr#iffi'fo€
                                                                            snd iotm.b.
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 32 of 109 PageID
                                    #: 296
Case L:24-cv-01664-NRM-LKE Document 17 Filed 10107124 Page 32 of 109 PagelD #: L3t




    Exhibir M



     Order Kane- Keil
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24                      Page 33 of 109 PageID
 case r- z+- cv- &ffi 4( flililrk Posuocntelfth#:l,297
        :                                           tr.IASAANW n1     W Begd 100 .&s D :
                                                                                      eI   #   132




     2l-2678'c.t;27-2711-sr
    I(nnco. dcBhsio; Keilo. City ofNewYork




                              UNITED STATES COIJRT OF APPEATS
                                  FOR THE SECOND CIRCIJIT

                                             August Tenm 2021.

              (Argued: November 22,2021                      Decided: November 28,2021)

                                                 No.21-2678




     Mcneru KANIE, Wrrrnu Cesrno,ldancangr CHU, Hr.lureR CLaRK, SrepnnNrg
      Dt Capue, Ronenr GtADDrNc, Nwaxanco NwAIFEIoKwLt, Iucnp RoMeRo,
                              TRwloep SIr,flTH, AIvIARyaLB RLJtz-ToRo,

                                             Plaintiffs-Aypellants,

                                                      -v.-

     Bnr pr Bm$o, in his official capacity as Mayor of the City of New York, Darno
       Cnorcsru, in his official capacity of Health Commissioner of the City of New
                    York, Ngw YoRK Crry DepARTrvrENT oF Epuca:roN

                                         Defenilants-Appellees.



                                                 No.27-2711

    Ivlernrew Knn,Iornv Ds LucA, Snsrn DELGADo, DeI{Nrs smn sen^*r Buzecro,

                                         Plaintifs-Appellants,

                                                      -v.-

                                                       7
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24             Page 34 of 109 PageID
                                       #: 298
case 1:24-cv-0qBffii1ffitr1kPofl'588R{Jr1ftl,lllQ$tffi!10P1ru     Pasp?oCI+aserD #: 133




      TFIE CITY OF NEW YORK, BOARD OF EDUCATION OF THE CITY SCHOOL
     DISTRICT OF NEW YORK, DAVID CHOKSHI, in his official capacity of Health
        Comrnissioner of the City of New York, MEISFIAPORTE& in her official
         capacity as Chancellor of the New York City Deparbnent of Education,

                                   Defmdants-Appellees.




    Before: Lnnxcsroru, chief luilge,KEARsq and Luq ciratitludges.
          In these two cases on appeal fifteen teadrers and school administrators

    drallenge the denial of motions to preliminarily enjoin the enforcement of an order

    issued by the New York City Comndssioner of Health and Mental Hygiene

    mandating that individuals who work in New York City schools be vaccinated

   against the COVID-19 virus ("Vaccine Mandate"). plaintiffs-Appellants

   dtallenge the Vaccine Mandate on religious.freedom grounds and principally

   contend (1) that it is facially infirrr under the First Amendmeng and (2) that the

   procedures by whidr their religious accourmodation claims were considered are

   unconstitutional as applied to them. We reject the Plaintiffs-Appellants' facial

   ctrallengebut agree that theyhave established anerrtitlement to preliminary relief

   on their arapplied claim. Accordingly, the judgment of the district court is

   VACATED and the case REMANDED for further proceedings. Interim relief


                                            2
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24                 Page 35 of 109 PageID
        :
                                               #: 299          re
 C ase l- 24- cv- &ffi 4{ *ill 1rJr Eosmenl 4t7l7, fllledllnteWAt l   P5#S09 ftBg e l D # : L 34




     ordered by the motions panel pending appeal is continue4 with the consent of

     Defendant-Appellee the City of New York.



     FONMI,AIvTs:                         In No. 2l-26782 SuIere Srorru GmsoN The
                                          Gibson Law Firur, Ithaca, N(; In No. 21.-2711:
                                          Benny BLAcK, Sarah Elizabeth Chil4 and
                                          fonathan R. Nelson" Nelson Madden Black
                                          LLP, New York, IS/.

    Fon DpreNDAr.rrs-AppEtlugs:           Suseru Pnusox, Assistant Corporation
                                          Counsel, Ridrard PauI Dearing, Assistant
                                          Corporation Counsel, and Devin Slack, New
                                         York City Law Departnrent, New York, I{t.

    PBnCurueu:

            These two cases on appeal, whidr we heard in tandem, concern the denial

    of preliminary injunctive relief in corTnection with an order issued by the New

    York City Commissioner of Health and Mental Hygiene (the "Commissioney''),

    mandating that individuals who work in New York City sdrools be vaccinated

    against the COVID-19 virus (the "Vaccine Mandate" or "Mandate"). Plaintiffs-

    Appellants ("Plaintiffs") ate fifteen teadrers and sdrool administrators who obiect

    to receiving the COVID-l9 vaccine on religious grounds. Plaintiffs sought, but

    were denie4 religrous accommodatioru. Th"y have zued the City of New York

    (the "City''), certain officials, and the New York City Departurerrt of Education



                                              3
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 36 of 109 PageID
 case r 2+-cv-&ffi 4{ *rtrXJr Pooscentdtlt7rT,
       :                                       FflffimuW70 1 m@ 969S409 ege I D #: 135
                                           #: 300




    (collectively, the "Defendants'), dratlenging both the Vaccine Mandate on its face

    and the Process by whidr their requests for religious accoulmodations were

    denied. The United States District Court for the Southem District of New York

    (Caproni, /.) denied motions for preliminary iniunctions in both cases, but a

    motions panel of this Court, with the consent of the City, thereafter granted

    Plaintiffs substarrtial provisional relief pending appeal.

           For the reasons set forth herein, we condude that the Vaccine Mandate does

    not violate the First Amendment on its face, and we thus agree with the district

    court to this extent. We nevertheless vacate the district courfs orders of October

    12 and 28,2021', derrying preliminary relief, and we concur with and continue the


   interim relief grarrted by the motions panel as to these fifteen individuals. For

   the present, Plaintiffs have established their entitlement to preliminary relief on

   the narrow ground that the procedures employed to assess their religious

   accommodation daims were likely constitutionally furfirm as applied to them.

   we remand for further proceedings consistent wittr this opinion.

                                     BACKGROI,'ND

                                   I.   Factual Background

           on August24,202l, the Commissioner issued an order reqpiring gererally

   that Deparhent of Education ('DOE") artdlor City employees or contractors who


                                             4
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24                Page 37 of 109 PageID
                                        #: 301
 case r:z+_cv_fi?gi_?tr#fr_1ftpots6ee6{e1itrrl,H{3&rffiffi7gA1@      Fagnflo04egerD #: 136




    work inDOE sdrools or DOEbuildings be vaccinated against the COVID-19 virus.

    The Vaccine Mandate provides, in pertinent part, as follows:

           1. No later than september 27, za2l or prior to begiruring
           emplolmrent, dl DOE staff must provide proof to the DOE that:

           a. they have been fully vaccinated; or

          b. they have received a single dose vaccine, even if truo weeks have
          notpassed since they received the vaccine; or

          c. they have received the first dose of a two-dose vaccine, and they
          mwt additionally provide proof that they have received the second
          dose of that vaccine within 45 days after receipt of the first dose.[lf



          5. For the purposes of this Order:

          a. 'DOE staff'means (i) fuil or part-time employees of the DOE, and
          (ii) DoE interns (induding student teachers) and volunteers.

          b. 'Fully vaccinated" means at least two weeks have passed after a
          person received a single dose of a one-dose series, or the second dose
          of a two'dose series, of a COVID-L9 vaccine approved or authorized
          for use by the Food and Drug Administration or world Health
          Organization.

          c. "DoE sdrool setting" indudes any indoor locationn including but
          not limited to DoE buildings, where insbrrction is provided to DoE

          I The Vaccine ldandate applies tlre same requirements to'City employees who
   work in-person in a DOE sdrool setting or DOE building," "[alll staff of contractors of
   DOE and the City who work in-person in a DOE school setting or DOE building,
   induding individuals who provide senrices to DOE students," and'[alll employees of
   any sctrool senring students up to grade 12 and any [Universal Pre-Kindergarten-3 or 4]
   Program that is located in a DOE building who work in-personn and all contractors hired
   by zuctr schools or programs to work in-person in a DoE building."

                                               5
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24                    Page 38 of 109 PageID
                                                   lFrle$n0frvl nl
 c ase r 2+- cv- &ffi ?{ €fr lrk PogmeRt d{t7t#:1,302
       :                                                          W     Begde0g es e I D # : 1-3 7




            students in public sdrool kindergarten through grade 12" induding
            residences of pupils receiving home irutmction and places where care
            for drildren is provided through DOE's tllving for the Young Family
            Through Educationl program.

            d. 'Staff of contractors of DOE and the Citt''meatu a full or part-time
            employee, intern or volunteer of a contractor of DOE or another City
            agenry who works in-person in a DOE sdrool setting or other DOE
            building, and indudes individuals working as independerrt
            contractors.

            e. "Works in-person" me.nrs an individual spends any portion of their
           work time physi*lly present in a DOE sdrool setting or other DOE
           building. It does not indude individuals who enter a DOE school
           sefting or other DOE location only to deliver or pickup items, unless
           the individual is otherwise zubject to this Order. It also does not
           indude individuals present in DOE sdrool settings or DOE buildings
           to make repairs at times when students are not present in the
           building, unless the individual is otherwise subject to this Order.

    Ioint APP'x t77:79.2 DOE seryes approximately one million students across the

    City, and the order was consistent with guidance from the U.S. Centers for Disease

    Control ('@C') that sdrool teadrers and staff should be vaccinated as soon as

    possible so as to pennit sdrools to resume norrral otrrerations safely.

           On September l, 2021, the United Federation of Teadrers ("UFT') filed a

    forrnal objection to the Vaccine Mandate on the ground that it fails to provide any

   medical or religious accourmodations. After failing to resolve their dispute




           2 The 'foint App'*" is the joint appendix filed by the parties in No. 2l-27tL.


                                                6
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 39 of 109 PageID
                                    #: 303
Case 1:24-cv-&MA[*VrldrEoqmernt df,(tl,1{ilBVftOtrl/eeleH&BegfAo9€agelD #: 1-38




    through mediation, the UFT and the City moved to arbitration. On September

    1O an independent arbitrator (the "Arbitrator") issued an award (the "Arbitration


    Award") setting forth a process and standards ("Accomrnodation Standards") for

    detenrrining as relevant to this appeal, religious accommodations to the Vaccine

   lvlandate.s

          The Accommodation Standards allowed employees to reErest a religious

   accommodation by submitting a request that is "documented in writing by
                                                                                        "
   religious official (e.g., dergy)." Ioint App'x 197. Reqgests 'shall be denied

   where the leader of the religious organization has spoken publidy in favor of the

   vaccine, where the doctrmentation is readily available (e.g" from an online source),

   or where the objection is persond, political, or philosophical in nature," lil.4


        s The Arbitration Award also provides standards for deterrrining medical
   accommodations to the Vaccine Mandate. Although Plaintiffs dullenged these
   standards below as well, they did not appeal on these iszues.
          On Septeurber 15, the Arbitrator iszued a materially identical award resolving a
   dispute between the City and the Council of Supervisors and Administrators, a labor
   nnion for sdrool administrative persorurel. Ioint App'x209.
          a The meaning of the second dause-"where the docrrmentation is readily
   available (e.g, from an online source)"-is obsctrre. The parties do not address its
   meaning in their briefs. The district court and the kil Defendants seem to have
   interpreted it as a restriction on an employee's abitty to meet the Arbitration Award's
   requirement that a req;uest be "documented in writing by a religious official (e.g.,
   dergyr)." See foint App'x 50H.L. Under this interpretatior; it would be inadequate for
   an eurployee to produce "readily available' docunentation from a religious official
   corroborating that employee's religious objections to vaccination. The employee would

                                              7
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 40 of 109 PageID
 case r z+-cv-&t&4{ *fr ]ilr PoSUBBfi e1ft7r7,
           :                                   H(&1NHt;AA 1 sa# h@8.d 4ege I D #: 13e
                                          #: 304




    Ttre Accommodation Standards further provide that requests "shall be considered


    for recognized and established religrous organizations (e.g., Christian Scierrtists).'

    lil.

                The Arbitration Award establishes a two-step process for resolving a

    reqlest for a religious accourmodation. First, the DOE renders an "initial

    determination of eligibifity for an exemption or accorlmodation."s Ioint App'x

    197; Defendants Br.         7. Then, if the employee's request is denied, the employee
    can appeal the DOE's detenrrination to a panel of arbitrators selected by the

   Arbihator. The Arbitration Award states that its procedures are to operate "[a]s




   irutead be reqpired to produce documentation such as, for example, a letter from a
   religious official the employee knows personally. While the text of this provision is
   ambiguous in our view, we adopt the district cour(s interpretation for pu{poses of this
   opinion. The parties are free to argue for a different interpretation before the district
   qcurt on remand.
               s At times, the parties appear to use the
                                                           terrrs'exemption' and "accomnodation'
   interdnngeably. As we use those terrrs, however, exemptions are different from
   accomsrodations. The Vaccine Mandate indudes etanptbtn for certain o$ectively
   defined categories of people, like delivery workers. Those who are exempted from the
   Mandate are not subiect to its terms. By contrast, employees who are subrect to the
   Mandate can request accommodations under Title VII and analogous state and city law.
   See infra at 4ru (disorssing Title VII's reqgiremmt to provide reasonable
   accommodations) see nlso We Tlu Patrbts USA, Inc. v. Hochul, 2027 WL 527652L at *1 (2d
   Cir. Nov. 72,2021).


                                                     I
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 41 of 109 PageID
                                            tFrle$n0UvlA41ffi@ Peg$g0g&selD #: 140
                                        #: 305
 case r:za-cv-&ffi4(flittrkPoqument*{t7r't,




    art altemative to any statutory reasonable acconrmodation process."6 Joint App'x


    194-95. Employees who are granted an accommodation

          shall be permitted the opportturity to remain on payroll, but in no
          event reryired/perrritted to enter a sdrcol building while
          unvaccinate4 as long as the vaccine mandate is in effect. Such
          employees maybe assigned toworkoutside of a schoolbuilding (e.g,
          at DOE administrative offices) to perfonn academic or administrative
          functions as deterrdned by the DoE while the exemption and/or
          accoulmodation is in place.

    Id. at200.

          hr addition to setting forth a process for granting rcligiour accommodations,

    the Arbitration Award sdreduled a series of deadlines for employees to comply

   with the Vaccine Mandate. First, it provided that as to any unvaccinated

   employee denied anaccoulmodatiorg the DOE could place the employeeon "leave

   without pay effective September 28,202!, or upon denial of appeal, whictrever

   [was] later, through November 30,2021.' Ioint App'x 201. 'During such leave



         5 Elsewhere, it asserts:


         The process set forttu herein" shall constitute the exdusive and complete
         adninistrative Proc€ss for the review and detercrirntion of requests for
         *ligf-,t and medical exemptioru to the mandatory vaccination policy and
         accomnodation reErests where the requested accommodation is the
         employee not appear at school.

   ]oint App'x207.


                                            9
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 42 of 109 PageID
                                                        #: 306
 c as e r:2 4-.u- Sffi 64 fufl f it il.r€gry mfnh 6 f, WF,  1 frl&/ @1 mlegp Hegdtmf 48s e I D # : L4L
                                                         "W7


     without Pay:'employees "shall continue to be eligible for health insuranceu bat

     "are prohibited from engaging in gainful emplolmrent,, Id. at202.

            From September 28 through October 29, any employee who was on leave

     without pay "due to vaccination status" could opt to separate from the DOE. Id.

     at204. Employees who elected to separate were eligible for certain benefits but

     were required to file "a lvaiver of [their] rights to challenge tttrcu] involurtary

     resignation" induding but not limited to, through a contractual or statutory

     disciplinary process." Id. Then, from November L through November 3O any

    employee on leave without pay due to vaccination status could "alternately opt to

    extend the leave through september s,2022,' during whictr time they would

    remain eligible for health inzurance. Iil. at 205. To extend their leave, however,

    the employees were required to execute "a waiver of [their] rights to challenge


    tttrclrl voluntary resignation" induding, but not limited to, through a contractual

    or stafirtory disciplinary process." kl. "Employees who have not retumed by

    September 5, 2a2Z shall be deemed to have voluntarily resigned.', kt.

    Segirudng December '/'., 202'!., the DOE shall seek to unilaterally separate

    employees whohave notopted into separation . . .          .', Id.



                                                 L0
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 43 of 109 PageID
                                               #: 307
c ase t:z+- cv -ffi68&fuRftl [1@"Smfn+] A il { fr, 1 frl@N|1Qf{7 M1 ffi A}e Eagdl I(s Bfu e I D #: t42




            On September t5, the Vaccine Mandate was asrended to provide:

     "Nothing in tttis Order shatl be construed to prohibit any reasonable

     accorrmodations otherwise required by law.'t ]oint App,x 184. Ttre amended

     Vaccine Mandate also requires "all visitors to a DOE school building,' to show

     proof that they have received at least the first dose of a two-dose vaccine prior to

     entering any DOE building. Id. at183. Tlre amended Mandate excludes certain

    grouPs from the definition of a "visitor,- including shrdents, parents (in certain

    circunstances), deliverymen, repairmen" emergency responders, '[i]ndividuals

    entering for the Purpose of COMD-l9 vaccinationn" "[iJndividuals who are not

    eligible to receive a COVID-l.9 vaccine because of their dge," voters, and certain

    election-related personnel. Id. at L&4.

                                       II. Procedural History
           On September 21 and October 27,2021, Plaintiffs, fifteen DOE teactrers or

    sctrool adninistrators who sought and were denied religious accommodations




           7 We obsen'e that this additional
                                          language is superfluous as a legal matter, at least
   as to religious accornmodation under Title VII of the Civil Rights AA of        lgil.
                                                                                      See EL
   U.S.C. 5 2000e, et seq. The Commissioner, a City official could not override Title
                                                                                      VIL a
   federal law requiring employers to offer reasonable accomnodations that do not result
   in undue hardship on the eurployer. See U.S. Coxsr. art. W cl. 2 (Supremacy Clause).
   Thus, even under the original Vaccine Mandate, DOE employees were iegally errtitled to
   reqgest accommodations.


                                                11
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 44 of 109 PageID
                                                    1 tlffilZJ6l1t M g9Affiell 2ffi PE g e l D #: L43
                                                #: 308
c as e L:24- cv -Q46€ 4!'fRtr -tt@csnnqnft 6lfl fit




     purzuant to the process outlined herein, filed these two lawsuits, I(ane,2l-sr-7863,

     and Keil, 2l-c*r-8773. Plaintiffs allege, inter alia, the violation of their First

     Amendment rights. On October 12, the district court denied the l&ne Plaintiffs'

     request for a preliminary injunction" ruling principally that Plaintiffs were

     unlikely to prevail on their daim that the Vaccine Mandate was unconstitutional

     on its face.E On October 28, the district court denied a similar request for a

     preliminary iniunction by the Plaintiffs in Keil "[flor the same reasons disctrssed

    fu{' I(nne on the ground that the two cases "raise[] many of the same claims . . . ."


    Ioint Apy'x 8.

              On October 25 and 28,2021, Plaintiffs appealed the district courfs denial of

    their requests for a preliminary injunction and requested an emergency injunction

    pending aPPeal. A motions panel heard oral argument on November 1O during

    which the City conceded that the Accommodation Standards are "constittrtionally

    zuspect. ,,     Ttre panel then solicited supplemental letter briefing. Each party



              I A district court in this Circuit denied a preliminary iniunction in a differerrt case
    in whidr different plaintifft challenged tlre same Vaccine Mandate on substantive due
    Process and equal protection grounds. See Maniscalco o. Nant Ymk City Dq't of Educ.,
    202lWL 43/r';267 (E.D.N.Y. Sept 23, 2021). A differerrt panel of this Court denied an
    iniunction pending appeal 202lWL &3n00 (2d Cir. tlept.27,2O2l), and subsequelrtly
    affinned the district courfs decision, ?:OZIWL 814767 (2d Cir. Oct. lt 2O2l) (summary
    order).


                                                    72
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 45 of 109 PageID
                                            tt    1 HWMIk M e%ige@efl 0d FEs e I D # : L4 4
c as e t:zq- cv -E?IS8P- frfiff-l't@cffifh6l'7 #: 309




    attadrcd to its letterbrief a proposed order for relief pending appeal. ECF No. 53

    in No. 2'1,-2678, at54; ECF No. 65 in No.2l-2711, at 10-13.

           on Novenrber 15, 202'J,, the motions panel issued an order ('Motions Panel

    Order'') hrgely tracking the Cit5/s proposed order and referring the matter to this

    merits panel.e The Motions Panel Order provides: "Pending further order by

    the merits panel . . . Plaintiffs shall receive fresh consideration of their requests for

    a religious accorlmodation." Motioru Panel Order 1[          L. The Order sets forth a
    Process purzuant to which Plaintiffs'reqgests will be promptly adjudicated'hy a

    ctntral citywide putel," whidr will adhere to the standards of, inter alia,TitleWI

   of the Civil Rights Act of 7964, rather than'the challenged criteria set forth in. . .

   the arbitration award . . . ." Id. \ 2. The Motions Panel Order also stays the

   deadline for Plaintiffs to opt into the extended leave program with any required

   waiver. Id. I E. It also provides ttrat if a plaintiffs request for religious

   accorrmodation is granted by the citywide panel, the plaintiff will receive backpay

   running from the date the plaintiff was placed on leave without pay. Id. fl 5.

         We heard oral argument on November ?2,2021- and now vacate the district

   court's decision denying Plaintiffs preliminary injunctive relief. We leave in


         e rtre Motions Panel order is set forth
                                                   in an Appendix to this epinion.


                                              13
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 46 of 109 PageID
 c as e t:zq - cv -ffiff'/rilrRfrl il. xPoS mftnfi A il { #:
                                                          fit,310
                                                               1
                                                                 ft{W ilQffr ffi1 Wftge Easfl dbsf 48s e I D # : t45




      place dl interim relief ordered by the Motions Panel, thus enjoining the City from

      tenninating Plaintiffs or requiring them to opt into the extended leave progtan

      while they are afforded the opportunity to have their religious accommodation

      reqg.ests reconsidered. We remand the case for further proceedings consistent


      with this opinion.

                                                 DISCUSSION

              "When a preliminary injunction will affect government action taken in the

     public interest pursuant to a statute or regulatory scheme, the moving party must

     demonstrate (1) irreparable harrr abserrt injunctive relief, (2) a likelihood of

     success on the merits, and (3) public interest weighing in favor of granting the

     ininnction." Agudath Isr. of Am. o. cuomo,983 F.3d 620, 6gt (2d cir. 2020); see also

     We The Patriots USA, Inc. a. Hochul, No. 2L-21. 79, 2O2l WL Slllg83, at 'l20 (2d Cir.


     Nov. 42021) ('When the government is a party to the suit, our inquiries into the

    public interest and the balance of the equities merge."), opinion clarified,2OILWL

     5276624(2d Cir. Nov. \2,2021), aypticatbnfor injunctioeretieffited,No. 21A12S (U.S.


    Nov. 2,20211.10 'nVe review a district courfs derdal of a preliminary injrurction




            t0 Unless otherwise indicate4 in quoting
                                                         @ses, all intemal quotation marks,
    alterations, emphases, footrotes, and citations are omitted.


                                                        1,4
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 47 of 109 PageID
 Case j-:24-cv-6e6g4il,fRl'tt+{bcmurh6fiIgfl,1frlH/ro:1lp4il$?fl$pffiefl6$f
                                         #: 311                             [?&gelD #: L46




    for abuse of discretionn but must assess de novo whether the court proceeded on

    the basis of an erroneous view of the applicable law," Aguilath,983 F.3d at 631.tr

           The "purpose" of a preliminary iniunction "is not to award the movant the

    ultimate relief sought in the suit but is onty to presenre the stahrs quo by

    preventing during the pendency of the zuit the occurrence of that irreparable sort

    of harrr whidr the movant fears will occru." Nmt York o. Nuclear Regulatory

    cornm'n,550 F.2d 745, 754 (2d cir. L97n; see also 11A cnaru,Es Ar-Arv wrucril,

    Anurun R. Mrnun & Irdmv Kev KAlrq FuoeRAr ItAcrrcE AArD PRocEDURE, S 2947

    (3d ed. Apr. 2021update) ("[A] preliminary injunction is an injunction that is

    issued toprotectplaintiff fromirreparableinjuryand to presenrethe courfspower

    to render a meaningful decision after a trial on the merits."). "Crafting a

    preliminary injunction is an exercise of discretion and judgment, often dependent

    as much on the equities of a given c€Ne as the substance of the legal issues it

   presents." Trump o. Int'l Rf,ste ,4ssistance Proiect,lST S. ct. 2080, 2087 (2oln.



          11 The parties dispute the applicable
                                                   legal standard. Defendants argue that
   Plaintiffs seek "to modify the status quo by virtue of amandafory preliminary injunction
   (as opposed to seeking aprohibitory preliminary iniunction to maintain the stahrs quo)."
   A.H. tt. French,98s F.sd L65, L76 (2d Cir. 2o2D. "In this circtrmstance, the movant must
   also make a strong showing of irreparable hanrr and demonstrate a dear or substantial
   Iikelihood of zuccess on the merits." kl. We need not resolve this dispute because our
   condusioru would be the same under either standard.


                                             1.5
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 48 of 109 PageID
                                      #: 312
case r:z+-cv-6?684fufltittt.@cg6tRfth6illfi,1ftlffi2@.ltffi189tt0e@dl66f BBselD #: L47




                           f.   Likelihood of Success on the Merits

          The Free Exercise Clause of the First Amendment provides that "Congress

    shall make no law respecting an establishment of religron" or prohibiting the free

    exercise thereof . . . ." U.S. CoNsr., amend. li see Cantutell o. Connecticut,3l0 U.S.

    296,303 (1940) (incorporating the Free Exercise Clause against the states). 'The

    free exercise of religion means, first and foremost, the right to believe and profess

    whatever religious doctrine one desires." Employmatt Dio., Dept. of Human

    Resources of Oregon o. Smith, 494U.5.872,877 (1990). The Free Exercise Clause


   thus protects an individual s private right to religious belief, as well as "Ole

   perfonnance of (or abstention from) physical acts that constitute the free exercise

   ofreligion.' Cent.PebbinicalCong.ofU.S.OCan.u.N.y.C. Dq'tofHulthSlvIental

   Hygiene,763E.3d783,l93 (2d cir. 20t4) (+roting smith, 494u.s. atBTT).

          This protection, however, "does not relieve an individual of the obligation

   to comply with a valid and neutral law of general applicability.' Smith,494V.S.

   at 879. Neutral and generally applicable laws are zubject only to rational-basis

   review. Cent. Psbbinical Cong.,763F.3d at 193. Laws and government policies

   that are either non-neutral or not generally applicablq however, are subject to

   "strict scnrtinyr" meaning that ttrey must be "narrowly tailored,, to serve a



                                            t5
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 49 of 109 PageID
                                              1frfuQ|?WltraatffigeEssdm€rR&elD #: 148
                                         #: 313
case r:z+-cv-&ffit4ft€fr1fl.rEorymfrnhdfltr!,



    "compelling" state interest. Romnn Cath. Diocese of Brooklyn v. Cuomo,141 S. Ct.

    63, 67 Q020); see Fulton a. city of Philadelfuia, L4t s. ct. t869,1881 (2021) ("A


    Soverrlment Policy can zunrive strict scrutiny under the First Amendmenfs Free

    Exercise Clause only if it advances interests of the highest order and is narrowly

    tailored to adrieve those interests.,,).

          Here, Plaintiffs make two principal daims: (1) that the Vaccine Mandate is

    facially unconstitutiona} and (2) that even assuming that the Vaccine Mandate is

    rct faadly unconstihrtional their First Anendment rights were violated by virtue

    of the procedures set forth in the Arbitration Awar4 whictr were used in the

   evaluation of their accourmodation requests. We conclude that Ptaintiffs have

   not shown a likelihood of zuccess on their facial ctrallenge to the Vaccine Mandate.

   At this jrrncture, however, they have demonstrated a likelihood of success on their

   as-applied challenge to the proceedings used in assessing their accorlmodation

   requests.


                                      A. Vaccine Mandate

                                          1. Neutrality
         The Vaccine Mandate, in all its iterations, is neutral and generally

   applicable. To deternrine neutrality, we begin by exarnining the Mandate's to<t,

   'for the minimum requirement of neutrality is that a law not discriminate on its

                                               17
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 50 of 109 PageID
                                                      #: 314
c as e 1. :2 4- cv -w?flfufl il'rt fl.t@cgnenh 6 f, ! fr,                         ffi
                                                          1 ftlBfrlh@l7 @1 8F,fige @dl B8s e I D #: L4e




     face." Church of tlrc Lukumi Babalu Aye, lnc. zt. City of Hialeah,s08 U.S. 520,533

     (7993), Facial neuhality alone, however, is not enough. A law that is facially

     neutral will still nrn afoul of theneutrality principle if it "targets religious conduct

     for distinctive treatntent." Id. at534,546. We thus also consider whether there

     are "zubtle departures" from religious neutrality, as well as "the historical

     background of the decision under drallenge, the specific series of events leading

     to the enachent or official po[cy in question, and the legislative or administrative

    history, induding contemporaneous statements made by members of the decision-

    making body;' lil. at534,50.

            The Vaccine Mandate is neutral on its face. It applies to 'all DOE staff," as

    well as City employees and contractors of DOE and the City who work in DOE

    sdrool settings. Thus, the Mandate does not single out employees who dedine

    vaccination on religious grounds. Its restrictioru apply equally to those who

    droose to remain unvaccinated for arry reason.rz




           u The Vaccine Mandate pennits both medical and religious accomrnodations. In
    that respect, this case is fachrally different from recerrt challenges to otlrer vaccine
    mandates. See, e.g., We TIu Patriots,2021WLSL2L983, at*l; Doa 7-6 o. Mitts,l6 F.4th 20,
    30 (lst C:r.2021), applicationfm injunctiae relief ilefied sub tnm. Does 7-3 a. Mills,2O2lWL
    5027177 (U.S. Oct 29,2021).


                                                  1.8
Case 1:24-cv-01664-NRM-LKE    Document 22 Filed 11/01/24 Page 51 of 109 PageID
                                     #: 315
Case r:24-cv9tl6€4ttRl[LKbctluenhbhlld71gffiZXg@rggg&,eRbefl9$f ItBgelD #: 150




           Nor do New York City Mayor Bill de Blasio's statements to the media render

   the Vaccine Mandate non-neutral. Plaintiffs seize on statements the Mayor made

   at a press conference suggesting that religious adherents should be vaccinated

   because the Pope supports vaccination and that accoulmodatioru to the Mandate

   will only be afforded to religions with long-standing objections to vaccination.

   But these statements reflect nothing more ttran the Mayoy's personal belief that

   religious accoulmodations will be rare, as well as "ganeral support for religious

   principles that [he] believes guide community members to care for one another by

   receiving the COMD-19 vaccine." We Tlu Patriots, 2021. WL 5721983, at *l0i see

   also iil. ("Governor Hodrul's expression of her own retgious belief as a moral

   imperative to become vaccinated cannot reasonably be understood to imply an

   intent on the part of the State to target those with religious beliefs contrary to hers;

   othenuise, politicians' frequent use of religious rhetoric to zupport their positions

   would render many govemment actions non-neutral...."). tt                       And even



        s While Mayor de Blasio said that only Christian Scientists and Jehovah's
   Witresses could receive religious accommodatioru, the City has granted
   accommodatioru to members of many other faiths. See Defendants Br. 12 (noting that
   "over 100 religious exemptions [have] been granted to employees of more ttnn 20
   different faithsfi . . . and individuals whose specific religion is not identifiable" (citing
   Joint App'x in No. 2l-2678, at75*59)).


                                                19
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 52 of 109 PageID
                                              1 *l$l?@ll7 MA $?AQB@pAlffi B8s e I D #: LSL
Case r z+-cv-$f€efl fufl t[t{@cgmRnh6ft Y fiI
       :                                  #: 316




    aszurting arguando, that ttre Mayot's statements reflect religious animus, the

    Mayor did not have a meaningful role in establishing or implementing the

    Mandate's accorrmodations process, which was implemented by DOE staff, and

    later, the Arbitrator. See iil. ("Govemor Hodnul's expression of her own religious

    belief as a moral imperative to become vaccinated carurot reasonably be

    understood to imply an intent on the part of the State to target those with religi6us

    beliefs contrary to hers; otherwisg politicians' frequent use of retgious rhetoric to

    support their positions would render many government actions non-

    neutral ...;'); cf. Trunry a. Hautaii, 138 S. Ct. 2392, 2417-23 (2018) (rejecting

    Establishment Clause dtallenge to facially neutral policy based on statemmts by

    the president that arguably reflected religious animus).

                                  2. General Applicability
           The Vaccine Mandate is also generally applicable. A law may not be

    generally applicable under Smith for either of two reasons: first, "fi it invites the

    govemment to consider the partictrlar reasorur for a personls conductby providing

    a mechanism for individualized exemptions"; or, second "if it prohibits religious


   conduct while perrritting secular conduct that undernrines the governmenfs

   asserted interests in a similar way." Fulton, L41 S. Ct. at L9n. Phintiffs argue




                                            20
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 53 of 109 PageID
 c as e 1 24- cv-ff664 fufl t4tfl.t@cuuunh 6 fi Y fi,
        :
                                                  #: 317
                                                      1 frlGfl 1@lT M1 8F,49pru0n W l?as e l D # : L52




     that the Vaccine Mandate is not generally applicable on its face because it does not

     apply to the general public. We disagree.

             "[A]n exemption is not individualized simply because it contains express

     exceptions for objectively defined categories of persons." We The Patriots,202l

     WL512L983, at +14 (quoting 303 Creatiae LLC a. Elenis,6 F.4th !!ffi,1187 (10th Ctu.

     2021)). Rather, there must be some showing that the exemption procedures allow

     sectrlarly motivated conduct to be favored over religiously motivated conduct.

    ld. Plainfiffs have made no sudr showing. Instea4 as in We Ttrc Patriots, ttte
    Vaccine Mandate provides for objectively defined categories of exemptions
                                                                                               -
    zudt as those for individuals entering DOE buildings to receive a COVID-L9

    vaccination or to respond to an emergency that do not ,,,invite[], the

    government to decide which reasons for not complying witfr the policy are worthy

    of solicitude." Fulton,14l. s. Ct. at 1879 (quoting Smith,4g4v.s. at g&4); see alw

    We The Patriots,202lWL itltg*g, at*14.


            Nor do these exemptions treat secular conduct more favorably than

    comparable religious conduct. "[G]ovemrnent regulations are not neutral and

   generally applicable . . . whenever they treat any comparable secular activity more

   favorably than religious exercise." Tandon o. N antsom, l4L S. c,t. l2g4,, t2g6 (2021').



                                                 2t.
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 54 of 109 PageID
                                          #: 318
 case 1:2a-cv-Sf664f,rflVltfl.r@ocgmnnh4flYfr,1fr:tHflti?rffilltZllffiilOpBgfi{WQgselD #: L53




     '[W]hether two activities are comparable for pu{poses of the Free Exercise Clause

     must be judged against the asserted govemment interest that justifies the

     regulationatissue." Id. Plaintiffs argue ttrat the Vaccine Mandateviolates these

    principles because it exempts certain groups of people (for example, emergency

    responders). But that argument is unavailing. Viewed through the lens of the

    CiVt asserted interest in stemming the spread of COVID-l9, these groups are not

    comparable to the categories of people that the Mandate embraces. While the

    exempt SrouPs do not come into prolonged daily contact with large groups of

    students (most of whom .ue unvaccinated), the covered groups (for example,

    teadrers) inevitably do.

          Plaintiffs fin"lly arpe that the Vaccine Mandate is not generally applicable

    because it applies only to DOE employees and contractors. But neither the

    Supreme Court, out court, nor any other court of which we rue aware has ever

   hinted that a law must apply to all people, ever5rwhere, at all times, to be

   "generally applicable." As counsel conceded at oral argument, a law can be

   generally applicable when, as here, it applies to an entire class of people.

   Plaintiffs have not explained why DOE employees and other comparable




                                            22
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 55 of 109 PageID
                                            #: 319
case 1,:24-cv-ffi€'&ilrflili1fl.r€oryULenh6il(fr,1ftl?#tilW7%1ffiegeBagezmof 4tselD #: r54




     employees are not such a dass, so we reject their argurnents that the law is not

    generally applicable.

                                     3. Rational Basis Review
           Because Plaintiffs have not established, at this stage, that they are likely to


    succeed in showing that the Vaccine Mandate is not neutral or generally applicable


    on its face, rational basis review applies. Cmt. Rabbinicat Cong.,76gF.gd, att93;

    see also Fulton,14l. S. Ct. at 1875 (citing Smith,494V.S.     at87H2). Rational basis
    review requires the City to have drosen a means for addressing a legitimate goal

    that is rationally related to adrieving that goal see lacoby g Meyrs, LLp e.

    Presiding lustices of the First, Second, Third and Fourth Dry'ts, Ayp. Dio. of the Stry. Ct.


    of N.Y.,852 F.3d t78,\91 (2d Cir. 20In.


          The Vaccine Mandate plainly satisfies this standard. Attempting to safely

   reopen sdrools amid a pandemic that has hit New York City particularly hard the

   City decided in accordance with CDC guidance, to require vaccination for all DOE

   staff as an emergency meEurure. This was a reasonable exercise of the State,s

   Power to act to protect the public health. See We Ttrc Patriots,2O2l WL 5121983,

   at *15; see also Phillips a. City of New York, 775 F.gd 598, S4Hg (2d Cir. 2015)

   (holding that New York could corutitutionally require all children to be vaccinated




                                               23
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 56 of 109 PageID
                                                lfrltWzffiT Wfi1ffiAilpro4gan4ffi lf$gelD #: 1-55
                                            #: 320
 case L:24-cv-0gee4fuflfr41-!-t@pcsanenh6fiT{t,




     in order to attend sdrool); Does L-6,15 F.4th at 32 (holding that the vaccine mandate

     ctrallenged in that case "easily satisfies rational basis revierd').ta

                     B. Arbihation Award and Accomnrodation Standards

           Plaintiffs also contend that the Vaccine Mandate is nnconstitutional as

     applied to them through the Arbitration Award. The City concedes that the

     Arbitration Awar4 as applied to Plaintiffs, onray/'have beert "constitutionally

    susPect " Defendants Dlr.3718, and its defense of that process is half-hearted at




           la Plaintiffs raise a potpouri of other corutitutional challenges
                                                                               against the Vaccine
    ldandate. None is persuasive. Ttre lfurcPlarntiffsargue that the Mandate violates the
    Fourteenth Amendmenfs Equal Protection Clause. "Wtlsl a free exercise challenge
    fails, any equal protection daims brought on the same grorurds are su$ect only to
    rational-basis review." Does L-6,15 F.4th at 35 (citing intq alia, Loclcea. Daoey,540 U.S.
    7t2,720 n.3 (200a)). Plainfiffs' Equal Protection Clause drallenge to the Mandate fares
    no better than ttreir First Amendment drallenge.

            The IQne Plaintiffs also contend that the Mandate violates the Supremacy Clause
    because it prohibits reasonable accommodations under Title VII. Th"y ale unlikely to
    zucceed on this claim. See We The Patriots,zD2l WL 5t21983, at*77 (noting that the law
    at issue there did not violate Title VII because it did "notbar an employer from providing
    an employee with a reasonable accommodation' (emphasis added)); Doa 7-6,16 F.4th at
    35 (similar).

           For their part, the IGil Plaintiffs arse that the Mandate violates their procedural
   due process rights because it does not offer meaningful standards against which their
   requests for religious accommodatioru will be measured. But Plaintiffs' requests will be
   governedby TitleVII and analogous state and city law, and the standards forthose daims
   are well established. See, e.g., Cosmc a. Hmdqson,2BT F.3d lse 152-s8 (2d Cir. 2002);
   Philbtooko. AnsoniaBd. of Educ.,757F.2d476,81 (2d Cir. 1985); Whitev. Andy Frain Setos.,
   Inc.' 629 F. App'x 131, tU (2d Cir. 2015); infra at Aru. Phintiffs have therefore failed
   to demonstrate a likelihood of success on the merits of this claim, too.


                                                24
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 57 of 109 PageID
                                             *
                                          l FlWmGzMl se*ge@s2$Or 0Ss e l D #: 156
 case 1.z4-cu-6nge4trfRtt-ttecmenh6fi7 #: 321




    best. hrdee4 it offers no real defense of the Accomrnodation Standards at all.

    The City has also consented to the relief ordered by the Motior,s Panel, under

    which the Arbihation Award and its results will be set aside and Plaintiffs will

    receive de nooo consideration of their accornmodation requests.

           We confirrr the Cit5/s "susp[icion]' that the Arbitration Award procedures

    likely violated the First Amendment as applied to these Ptaintiffs. We

   emphasize, however, that this detersrination is exceedingly nlrrow - simply that

   Plaintiffs, at this juncture, have sufficiently established a likelihood of success so

   as to meet this prong of the preliminary iniunction standard. Given the Gt5/s

   concessiolts, and in the interest of providi"g tim"ly guidance to the parties, we

   need not and do not address any other constifirtional objection to the Arbitration

   Award that Plaintiffs raise.ls



          s Nor do we address certain argumenb made by Defendarrts. In a single
   senterrce in their brief, Deferrdants suggest that Plaintiffs do not 'trave standing to launch
   a direct attack on the terms of awards arising out of arbibations initiated by their own
   unions without first alleging a breach of the duty of fair representation." Defendants
   Br. 35 (citing 74 Pmn Plaza LLC v. Pyett,556 U.S. 247,260 (2009)). But Defendants have
   notiderrtified arryprovisioninthe relevant collectivebargainingagreements ttrat "clearly
   and unnristakably" requires wrion members, including Plaintiffs, to arbitrate their
   constihrtional claims. Pyett,556 U.S. atT74; see Fernandq, o. Wfudmilt Distrfu. Co., 159 F.
   SuPP.3d 351, 360 (S.D:N.y.20L6); see also Banantituo. Ark.-Best Freight Sys.,lnc.,450 U.S.
   728, 74 (1981); Wright v. l-Inioqsal lvlafitittu Seru. Corp., 525lJ.S.70, 7940 (1998). Lr
   another single-sentence argunent, Defendants suggest that Plaintiffs' unions may be
   "neessaly parties" under Federal Rule of Civil Procedure 19(a)(tXBXi). Defendants Br.

                                                 25
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 58 of 109 PageID
c ase t:za- cv -0fl684ftfl il{t [ €o@uenfi 6 il { fr   1 fr lW ZW7 M1 Wege EQp2tror Bts e I D #: L57
                                                  #: ,322




                                             1. Neutrality
            We condude, first, that the procedures specified in the Arbifration Award

     and applied to Plaintiffs are not neutral. The Supreme Court has explained that

     "the govemment, if it is to respect the Constitution's guarantee of free exercise,

     carurot impose regulations that are hostile to the religrous beliefs of affected

     citizens and cannot act in a manner that passes iudgmerrt upon or presupposes the

     illegitimacy of religious beliefs and practices." Mastrpiece Cakcslwp, Ltil, a. Colo.

     Civil Rights Comm'n,138 S. Ct. t719,1731 Qltg).

            We have grave doubts about whether the Accommodation Standards are

    consistent with this bedrock First Amendment principle. fr"y provide that

    "[e]xemption reqgests shall be considered for recognized and estabHshed religious

    organizationsu artd that "requests shall be denied where the leader of the religious

    organizationhasspokenpublidy infavor of thevaccine, wherethedocumentation




    35. Defendante, however, failed to raise this argument below and fail to explain afty the
    unions would be necessary pafiies in their brief in this Court.

            Given both the Cit/t consent to the interim relief afforded here and the failure to
    develop these argunents before this Court, we dedine to affirur on either ground. See
    United Ststes o. Morton,993 F.3d 198,204n.10 (3d Ctu. 2021) ("[fJudges are not like pigs,
    hwrting for brrffles buried in the record."). Defendants are free to raise these argrlnents
    before the distria court on remand however, grventhat tlre procedural contextinwhictr
    this case arises rrray prove relevant on the merits at a later stage in the proceeding.

                                                26
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 59 of 109 PageID
                                           #: 323
 Case ttro-"r-66c4lfte[ri1fl.tdEocDnanhdnYfr,  1frIlW2lfMCI7flzt18BdOp@opro B8gelD #: 1-58




     is readily available (e.9, from an online source), or where the obiection is personal,


     politicaf or philosophical in nature." Ioint App'x L97.16 Moreover, Plaintiffs

     have offered evidence that arbitrators applied the Accommodation Standards to

     their applications by, for exanple, telling Plainfiff Keil that his religious beliefs

     "were merely personal, [because] there are other Ortlrodox Christians who droose

    to get vaccinated."lT Id. at376.

           Denying an individual a religious accorrmodationbased on someone else's

    publidy expressed religious views
                                            - even the leader of her faith -nuu afoul of
    the Supreme Courfs teadring that'[i]t is not withh the judicial ken to question

    the cerrhality of partiarlar beliefs or practices to a faith, or the oalidity of partianlar




           16 As noted
                         above, we find the second dause arrbiguous but have adopted the
    district courfs interpretation for purposes of this opinion. See supranote 4.
           t7 Plaintiffs offered zubstantial evidence that arbitrators referenced the
     Accomnodation Standards in their hearings. For example, during another hearing an
     arbitrator dedared that, because a DOE employee's congregation was not opposed to the
    vaccine, the employee's objection was opersonal and not religion-based." foint App'x
    338. The City notes that hearings were not recorded and that given the need to render
    deterrrinatioru expeditiously, such deterrrinatioru were issued without full written
    opinions to explain them. It cautions that'tlre record. casts serious doubt on plaintiffs'
    conterrtions that the dullenged criteria in the arbitration awards were controlling in ttre
    administrative appeals." Defendants Br. 11. To be dear, it may be that after furttrer
    fachral development, some or even all of Ptaintiffs' Free Exercise Clause danns fail on the
    merits. But at this stage, based on the terms of the Arbitration Award and the numerous
    affidavits submitted by these fifteen individuals in support of their claims, we conclude
    that Plainfiffs have established a zufficient likelihood of success on the merits.


                                               27
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 60 of 109 PageID
                                        #: 324
 case r'z+-cv-Segc4ftflfnfl.KEocDuunh6rl7lfr,1fr'fr&lAWTl%l&lgPF4F2ffiEfggelD #: L59




    litigants' intrpretations of those needs." Hrnandez a. Commissionel4g0 U.S. 580,

    699 (1989) (emphasis added); see also Frazne u. Illinois Dep't of Emp. Sec., 489lJ.S.


    829,833 (1989) (noting ttut "disagreemerrt among sect members" over whether

    work was prohibited on the Sabbath had not prevented the Court from finding a

    free exercise violation based on the daimarrt's "turquestionably. . . sincere belief

    that his religion prevented" him from working (citing Tlnmas o. Reo. Bit. of Indiana

    Emp. Sec. Dirt.,450V.5.707,7L4 (1981)). Accordingly, we conclude that based on


    the record developed to date, the Accomrrrodation Standards as applied here were

   not neutral, triggering the application of strict scmtiny.

                                  2. GeneralApplicability
         Nor does it appear that zuch procedures were gerrerally applicable to all

   those seeking religrous accornmodation. In Smith, the Supreme Court held that

   an unemPloynrent compensation system with discretionary, individualized

   exemptioru "lent itself to individualized government assessment of the reasons

   for the relevant conduct'' and was thus not generally applicable. 4g4U.S. at 884.

   So too here.


         Plaintiffs have offered evidence that the arbitrators reviewing their requests

   for religious accommodations had zubstantial discretion over whether to grant



                                            28
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 61 of 109 PageID
                                            #: 325
 case L:24-cv-6flgtfilfuflK/t[ldBgcDnnenh6il!fr,1*lQW1@J7@;1ffiegeftlg@ffiR8gelD#: 1-60




    those requests. Sometimes, arbitrators strictly adhered to the Accommodation

    Standards. Other times, arbitrators apparently ignored ttrem, such asby granting

    an exemPtion to an applicant who identified as a Roman Catholic, even though

    the Pope has expressed support for vaccination. Cf. We The Patriots, 2O2t WL

    5L21983, at *t4 (denying a motion for a preliminary injunction where medical


    exemptions were granted exdusively in accordance with a uniform certification

    process). hr our view, and based on the record to date, Plaintiffs have thus shown

    that they are Hkely to zucceed on their claim that the Arbitration Award

    procedures as applied to ttrem werenot generally applicable.

                                      3. Strict Scrutiny
          Because the accommodation procedures here were neither neuhal nor

    generally applicable, as applie4 we apply strict scmtiny at this stage of the

   proceeding. Under sudt scmtiny, these procedures are constitutional as applied

   only if "'rtatrowly tailored' to serve a 'compelling, state interest " Roman Cath,

   Diocese,l41 S. Ct. at 57 (quoting Luktmi, S0B U.S. at145); see also Tandon,l4l S. Ct.

   at 7296 ("[Tlhe governmerrt has the burden to establish that the challenged law

   satisfies shict scnrtiny."). The Supreme Court has recognized that "[s]temming




                                           29
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 62 of 109 PageID
                                            ltlHl@lltUxtSgfuQp@eB0aff BSselD #: L61"
                                        #: 326
case r:z+-cv-0fl6B4fufltllt{,@cgmenh6fiT:ft




    the spread of COVID-19" qualifies as "a compelling interest.'           Roman Cath.

    Dioese,l41 S. Ct. at67.

          The qgestion is thus whether the Arbitration Award's procedures, as

    implemented and applied to Plaintiffs, lvere narrowly tailored to serve the

    governmenfs interesL Narrow tailoring requires the govemmant to

    demonstrate that a policy is the "least restrictive means" of adrieving its objective.

    Thonas,4s0 U.S. at718.

          These procedures cannot sunrive strict scnrtiny because denying religious

   accoulmodations based on the criteria otrtlined in the Accommodation Standards,

   zuch as whether an applicant can produce a letter from a religious official is not

   nanowly tailored to serve the governmenfs interest in preventing the spread of

   COVID-19. Ttre City offers no meaningful argument otherwise.

                                    II.    Ireparable Hamr

                                   A. Motions Panel Order
         Plaintiffs have also shown that they would suffer irreparable harm absent

   ttre relief ordered by the Motions Panel. They have demonstrated that they were


   denied religious accorlmodations
                                          - pursuant to what the City has conceded was
   a "constitutionally suspecfl' process
                                        - and were coruequently threaterred wittt
   imminent terurination if they did not waive their right to 2e. This is sufficient

                                              30
Case 1:24-cv-01664-NRM-LKE    Document 22 Filed 11/01/24 Page 63 of 109 PageID
                                    #: 327
case r:2+-cv$i€64fuRff-t1@cBrOenhbh?4t ftrffilffiOzffid89@eRl&e81clf *&gelD #: 162




   to show irreparable harnr. See Am. Postal Worlcers Llnim a. lJnited States Postal

   Smt,, 766 F.2d 715, 722 (2d Cir. 1985) (noting that "the threat of permanent

   discharge" can cause irreparable harur in the First Amendment context).l8

                           B. Plaintiffs'Request for Broader Relief

          Plaintiffs contend that this interim relief does not go far enough. They

   argue that they are entitled to an injtutction immediately reinstating them and


          rs We do not cast doubt on the well-established principle that "loss of employment
   'does not usually constitute irreparable iniury."' Does 7-6,16 F.4ttr at 36 (emphasis
   added) (qnoting Sampsana. Munry,415 U.S. 61,90 (1974); seeWeTlu Pntriots,202lWL
   5L27983, at*L9i see also, e.g., Phtao. Nantsom,2027wL541060& at *3 (N.D. cal. Nov. 1Z
   2O2l) (collecting cases in whidr district courts have conduded that the "choice" between
   "maintaining...employmentortakingavaccinethat[employees]donotwant...does
   not [cause employees to suffer] irreparable harrr that warants mjoining a vaccine
   mandate"). But see BST Holdings, L.L.c. a. oSHA,2lzlwLsng3f;l, at *8 (Sth Cir. Nov.
   72,2027) (finding ineparable hann where 'reluctant individuat recipients [were] put to
   a droice between their job(s) and theiriab(s),').

           This is an unusual case for two reasons. First, Plaintiffs have demonstrated a
   likely violation of their First Amendment rights resultingfrom the marmer inwhich their
   reHgious accomrnodation claims were considered. Cf. Does 1-3,202LWL5027L77, at*!,
   *4 (Gorsudt
                  /., dissenting from the denial of application for iniunctive relief) (finding
   irreparable hanr where healthcare workerc raised a First Amendment claim and faced
   brnination if they did not comply with vaccine mandate). Second these very
  procedures require Plaintiffs to forgo suit to avoid hann and the Ctty has consented to
  the entry of an iniunction whicl1 among other things, will provide for tlrese claims to be
  promptly reconsidered pursuant to procedures that are not constihrtionally infimr. Cf.
   Ivloore o. Cottsol. Edison Co. of N.Y., 1nc.,409 F.3d s06, slz n6 (2d ctu.200s) (noting
  "particrrlarly stringent standard for irreparable harrr" in government personnel cases
  and observing that preliminary relief is inappropriate where halnr could notbe vitiated
  by an interim injunction). Given these facts and the City's concessions, we need not
  intimate a view as to whether Plaintiffs could show ineparable lwm in different
  circumetances.


                                               3L
Case 1:24-cv-01664-NRM-LKE  Document 22 Filed 11/01/24 Page 64 of 109 PageID
                                  #: 328
casetzq-cv-ffit??Jf^fltkP"gger'nb11\l'H{e&E0&1t&tWFasecasft       serD#:163



     Sranting them backpay pending dc nwo consideration of their requests for

    religious accoulmodations. Because Plaintiffs have
                                                             not shown that ttrey would

    suffer ireparable har:n absent this broader relief, we
                                                             are not persuaded.

          At the outset, we clarify what is at stake at this point in
                                                                        the litigation. The

    City has committed to providing 'fresh considerationo
                                                               and prompt resolution of

    Plaintiffs' requests for religious accommodation.
                                                             Motions panel order [ 1..
    under the Motions Panel order, the city must adjudicate
                                                                  these requests within

   two weeks of Plaintiffs' submission of any docurnents
                                                             they are perrritted (but not

   reqrired) to zubmit in support of their accoulmodation
                                                                requests. Id.1,3. The
   City may not tenrrinate Plaintiffs or require them
                                                        to opt-in to the extended leave

   Program (and thereby waive their right to sue) while their requests are pending.

   ld'L +' The City has also affirured that Plaintiffs who receive
                                                                         accommodations

   will be reinstated and receive all back pay and other benefits
                                                                        to whictr they are
  entitled' The question before us is thus whe ther additionat
                                                                   pretiminary reuef is
  required until the City can decide Plaintiffs'
                                                    renewed requests for a religious

  accourmodation over the next few weeks.

        We condude that no zuctr relief is required. Plaintiffs
                                                                        contend that they
  will be irreparably hanned if we do not reinstate them
                                                              during this period. We



                                           32
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 65 of 109 PageID
                                                 #: 329
c ase t:24.cv -E?68 &ftfi ili! il.re$gRnfi A t T fi,
                                                     1
                                                       ft{W\Wt ffit #AQe @c00od f, 8s e D #: 164
                                                                                      r




     disagree. Though Plaintiffs will continue to be on leave without pay while the

     City reconsiders their requests for religious accommodations, they have not

    shown ttlat this amounts to an ineparable harrn in the circumstances here. "Irr

    govemment personnel casesr" like this one, "we 'apply a particularly stringent

    standard for ineparable injur5/ and pay special attention to whether the interim

    relief will remedy any fureparable harm that is found." Mullins o. City of N.y.,gO7

    F. App'x 58t 537-88 (2d Cir. 2009) (qgoting Moore,409 F.3d at 512n.6 in rurn

    quoting Am. Postal,Z66F.2d at72l). Thus, we have held that when irreparable

    harm arises "not from [an] interim disctrarge but from the threat of peruranent

    disdrarge' a Preliminary injunction is inappropriate because harrr would not be

    "vitiated by        interim injunction." Moore,,$g F.3d atsl2n.6 (quoting saoage o,
                   "t
   Gorski,8s0 F.2d &,0g (2d Cir. 19BB)).

          Applying these principles here, Plaintiffs are not entitled to reinstatement

   while the City reconsiders their requests for religious accourmodations. hl

   Saoage, we held that evert an "interim discharge' is iruufficient
                                                                       to show irreparable

   hamr in the govemment employrnent context. 850 F.2d at 58. It follows that the

   Cit5/s decision to require Plaintiffs to remain on leave without pay for a few

  additional weeks is inadequate to justrfy an injunction reinstating them pending



                                              33
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 66 of 109 PageID
c as e r z +- cv- 8r%ff+1( frI I I x Pos&ePfi J fl{ fi
         :                                               H{?g?gffil7f t t ffi & tsaeffi o ern6 e I D # : 1 6 5
                                                    #: ,330




      redetersrination of their requests for religious accoulmodations.le And under the

      Motioru Panel Order, Plaintiffs will receive backpay if ttrcir requests for religious

      accorrmodations are granted. Motions Panel Order 1[ 5; see Sampson,4l5 U.S. at

      91 (holding that possibility of ba*puy obviates risk of irreparable harm).


              hrzupportof their argumerrtthatthey are entitled tobroader relieg plaintiffs

     contend that '[t]he loss of First Arnendment freedoms, for even minimal periods

     of time, rurquestionably constitutes irreparable injury." Elrod a. Burns,4Z7IJ,S.

     u7, 373 (1976) (plurality opinion). But cf Does L-6,16 F.4th at 3T (,Even if,

     arguendo, these daims [induding a First Amendment claim] presumptively cause

     irreparable harnr, we think the state has overcome any suchpresumption.,,); Bronx

    Houselnlil of Faith o. Bd. of Educ.,331 F.3d u2, ug (2d cir. 2003) (,,[w]e have not

    consistently presumed irreparable harrr in cases involving allegations of the

    abridgement of First Amendment rights.").

             We do not gair,say the principle that those who are unable to exercise their

    First Amendment tights are irreparably injured per se. But this principle is not

    applicable to the present case. T?re City is not threatening to vaccinate plaintiffs



             le This case does not reguire
                                             us to address whether an employey's decision to place
   ib employees on leave without pay for an extended period i.e.,longer than ttre few
   weeks reqtrired by the Motioru Panel Order                   --
                                               could inflict irreparable
                                                      -                              h"*t.

                                                    34
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 67 of 109 PageID
c as e r z+_ cv_&ffifi(iffil fuPoryUginfr d f, /r?,
        :
                                                     lfrf$pfiWt/aal Fl$e tsas3frsf 4fo e D # : 1 6 6
                                                 #: 331                                  r




     against their will and despite their religious beliefs, which would unquestionably

     constitute irreparable harm. Plaintiffs instead face economic hanns, principally

     a loss of income, while the City reconsiders their request for religious
     accorlmodations. "It is well settle4 however, that adverse employment

     consequ€nces," like the loss of income accompanying a suspension without pay,

     "are not the t1rye of harrr that usually warrants injr.rnctive relief because economic

    hallrr resulting from emplolmrent actions is tlryically compensable with money

    darrrages.o We Tlrc Patriots,202'!,WL5l2lg83, at r19 (citing Sampson,4ls U.S. at

    9l-92; Savage,8s0 F.2d at 58). Because those hanns 'could be remedied with

    money darnages, and reinstatement is a possible remedy as well,,, id.,lhey do not

    iusttfy an injtrnction reinstating Plaintiffs. See Saoage,8sO F.2d at 68 (.Since

    reirutatement and money damages could make appellees whole for any loss

    suffered during this perio4 their iniury is plainly reparable and appellees have

   not demonstrated the t5rye of harsr entitling them to injunctive relief."); cf. A.H.,

   985 F.3d at t76 ("In cases dl"gi.g constitutional iniury, a strong showing of a

   constihrtional deprivation tlnt results in noncunpmsable damages ordinarily

   warrarrts a finding of irreparablehann." (emphasis added)).




                                                35
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 68 of 109 PageID
c as e t:zq-cv -8f88&ft-Rtil [ €"SBen[ a il ( fi,
                                              #: 332
                                                  1
                                                    frW 4Wtffi
                                                            WAileBascr3frd Flfu e I D #: !67




           For that reason, this case is different from other pandemic-era cases that

    have fonnd ireparable hann based on First Amendment violatioru. See, e.5.,

    Roman Cath. Diocese,141 S. Ct at 6748; Aguitath,983 F.3d at,8G37. Those cases


    involved restrictions on worshippers' rights to attend religious services and so

    directly prohibited them from ft          exercising their religron. See Aguitath, ggg
                                        "ly
    F'3d at 636 ('The Free Exercise Clause protecb both an individual's private right

    to religious belief and the perfonnance of (or abstention from) physical acts that

    constitute the free exercise of religion, including assembling rtrith others for a

   worship service.").

          Not so here. Plaintiffs are not required to perfonn or abstain from any

   action that violates their religrous beliefs. Because Plaintiffs have refused to get

   vaccinate4 they are on leave without pay. The resulting loss of income

   undoubtedly harnrs Plaintiffs, but that ham is not irreparable. See Sampson, 475

   U'S' at91,92n68("[L]ossof incometl . . .aninsufficiencyof savingsordifficulties

   in imnediately obtaining other employrrent. . . will not [ordinarily] support a

   fitdi.g of irreparable injury, however severely they may affect a particglar
  individual.';.zo



         D Plaintiffs' request for backpay fails for
                                                       an additional reason. preliminary

                                              35
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 69 of 109 PageID
                                                        1f, lW ?Wtna1 Rl& se$mof B& e I D # : 1 6 8
 case r z+- cv- &ffi+a(ffi1 il xPoryUlRrn\ d r1f,r#:!, 333
        :




                                        UL Public Interest
            We briefly address the remaining preliminary iniunction factor, the public

     interest. The public interest weighs in favor of the relief granted by the Motioru

     Panel. To the extent Plaintiffs were derried religious acconrmodations purstrant

     to a concededly "constitutionally suspecf' process, the public interest favors

     affording them an opportunity for reconsideration See Aguitath,gggE.Sd at6}7

     ("No public interest is senred by maintaining an unconstitutional policy when

    constitutional alternatives are available to addeve the sarne goal.'). Indee4 the

    City has not objected to providing that relief, fortifying our conclusion that it

    ser:ves the public interest. hr sum, the relief afforded by the Motions Panel


    appropriately balances the equities by ensuring that Plaintiffs are not terminated

    or forced to waive their right to sue as the City reconsiders their requests for

    religious accommodation while, at the same time, the Vaccine Mandate, whictr is

    designed to further the compelling obiective of pernritting sclrools fully to reopen"

    qrntinues in effect.




   injtrnctions are appropriate only to prevent prospectioe tram qntil the trial court can
   decide the case on the merits. Plaintiffs' request for backpay is (as the terrr hackpay
   zuggests) errtirely retrospective. We would thus deny Plaintiffs'request for backpay at
   this stage even if Plaintiffs had shown that their economic harms were irreparable.


                                               37
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 70 of 109 PageID
                                               #: 334
c as e 1' 24- c\fuEp&l tHlW t REcrmnfil 6 f,t \71  1' ffiADl9Bf2ffi9;4lpd$#O9Bag e I D # : 1 6 9



    (1994) (quoting Califano o. Yamasaki, 4l2V .5. 682" 702 (1979)); accord New York kgal


    Assistance Grp. v. BA, 987 F .3d 207, 225 (2d Cir. 2021) i see also United States a. Nat'l


    Treasury Emps. Union,513 U.S. 454, M8 (1995) (teadring that courts should not

    "provide relief to nonparties when a narrower remedy will fully protect the

   litigants'); United States o. Rnines,352 U.S. t7,2L (1960) (noting that the judicial

   power is limited to "adjudg[ing] the legal rights of litigants in actual

   controversies");Hawaii,l38       S. Ct. at2427 (Thomas,/., concurring) 1"[A]s a gerreral


   nrle, American courts of equity did not provide relief beyond the parties to the

   case.       American courts' tradition of providing equitable relief only to parties

   was consistent with their view of the nafirre of judicial power.").2l

           Plaintiffs repeatedly emphasize that they have raised ufacialu drallenges as

   if that perurits them to obtain dass wide relief without obtaining dass certification.

   But we have rejected Plaintiffs' facial drallenge to the Vaccine Mandate. We also



           " Cf. Dep't of Homeland Sec. o. Nant York, 140 S. Ct 599, 6A0 Q020) (Gorsudu /.,
   concruring in the grant of stay) ("Equitable remedies, like rerredies in general, are meant
   to redress the iniuries zustained by a partiorlar plaintiffin a partiorlar lawsuit. When a
   district court orders the governnrent not to enforce a nrle against the plaintiffs in the case
   before iC the cotrrt redresses the iniury that gives rise to its jurisdiction in the first place.
   But when a court goes further than that, ordering the govemment to take (or not take)
   some action with respect to those who are strangers to the suit, it is hard to see how the
   court could still be acting in the judiciat role of resolving cases and controversies."); Gill
   o. Whitforil, 138 S. Ct. 7915, lg34 (2018) ("[S]tanding is not dispensed in gross: A
   plaintiffs remedy mustbe tailored to redress the plaintiffs particular iniury.).

                                                  39
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 71 of 109 PageID
                                         #: 335
 Case 1:2+-crF0$0&1tRf,il-lRsounonlrfi6frtt"AIAHAgnQM\B*egBeEeC0l6pl8agelD #: L7o




   reject Plaintiffs' attempt to transfornr their garden-variety "re applied" daims into

   what are effectively daims on betralf of a dass simply by styling them as "fasaY'

   drallenges. Indee4 Plaintiffs' drallenge is an end run arotrnd the nrles governing

   dass certification. Why, after all would plaintiffs go to the trouble of

   demonstrating 'numerosrty, commonality, typicality, and adequaleyl" if they can

   obtain dasswide relief as Plaintiffs now propose? Wal-Mart Stores,Inc. o. Dulces,

   564 U.S. 338, U9 (2011).


         Relatedly, we do not reiect Plaintiffs' th*ry because they failed to use the

   words "dass action" in the title of their complaint. Rather, Plaintiffs neoer mooed

  fw class cutification, so no dass has been certified. And the rule ttrat iniunctive
   relief should be narrowly tailored to prevent hann to the parties before the court

   "applies with special force where," as here, "there is no dass certification."

   Californk u. Azar,911 F.3d 55& 582-83 (9th Cir. 2018); see id. ("lniunctive relief

   generally should be limited to apply only to named plaintiffs where there is no

   dass certification;'); see also Slwrpe o. Cureton, 379 F.3d 259, 273 (6th Cir. 2003)

   ("While district courts are not categorically prohibited from granting injunctive

  relief benefitting an entire dass in an indiuidual szff, sudr broad relief is rarely

  justified because iniunctive relief should be no more burdensome to the defsrdant



                                            40
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 72 of 109 PageID
                                               #: 336
 case l:24-cr&3@fl1]ffilt/itlK6cuDresrtnflr0nt\71#AffiO&lgBl2f€i3F;ilgpefld:11ffiBagelD #: L7L




    than necessary to provide complete relief to the plaintiffs." (citing Yamasaki, M2

    U.S. at 702)); Meys v. CUNA MuL lns. Soc'y, 648 F.3d t54, 17t (3d Cir. 2011)

    (collecting cases in whidr courts have "found injunctions to be overbroad where

   their relief amounted to dass-wide relief and no class was certified").

          Moreover, "[flacial drallenges are disfavored." Wash. State Grangeo.Wash.

   State Republican Party, 552 U.S. 4/.2, 450 (2008). The Supreme Court has

   "strongflyJ admon[ished] that a court should adjudicate the merits of an as-

   applied ctrallenge before readring a facial drallenge to the same stafitte."

   Cmradity Trmil Smt. o. CFTC,149 F.3d 679, 683 (7th Cir. 1998) (citine Bil. of Trs.

   of State Unia. of Neu York o. Fox, 492U.5. 469, 48/-fi6 (1989)); see also Broclcett o.

   Spolune Arcades,Inc.,472V.S.49L,502 (1985) (refusing to facially invalidate stafirte


   because "a federal court should not octend its invalidation of a statute further than

   nec€ssary to dispose of the case before i(); see, e.g., United States zt. Grare,461 U.S.

   177, t75 (1983) (limiting review to the question of whether a statute was

   unconstitutional "as applied" in certain contexts, even though plaintiffs raised a

   facial drallenge under the First                    Thus, "it is a proper exercise of

   judicial restraint for courts to adjudicate as-applied drallenges before facial ones

   in an effort to decide constihrtional attacks on ttre narrowest possible grounds and



                                             41.
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 73 of 109 PageID
                                               1HlhOggIQBf25f;9;OgPdd@ldPEageID #: L72
Case r:z+-crFcfiedfllHil4tlRgcLgwdflt6tttn #:Z 337




   to avoid readring unnecessary constitutional issues." Commodity Trend Smt.,l$9

   F.3d at 690 n.5; see ,Ashwandq u. Tennessee Valley Auth.,297 lJ.S. 288, 34647 (1936)


   @randeis, /., concurring) (artiailating these foundational principles of judicial

   restraint). Consistent with these well-established principles, we dedine to

   expand the relief ordered by the Motions Panel to cover nonparties to this

   litigation. z2

                            B. Conflict of lnterest and Title VII

          Plaintiffs finally contend that the interim relief alforded by the Motions

   Panel is inadeErate for two additional reasons. Neither is persuasive.

          First, Plaintiffs contend that induding lawyers from the Office of the

   Corporation Corrnsel on the citynride panel is improper because the Corporation

   Counsel has a conflict of interest due to its participation in this litigation. We

   reject this argument The attorneys are advocates, not parties-in-interest. See,

   e.g., MES Sec. Corp. o. SEC,380 F.3d 6ll, 519 (2d Cir. 200 ) (reiecting the argumerrt


   that an ageng/s "role as [the petitioners'] adversary in litigation prevented it from




         2 The lfunePlatnfifrshave filed an amended dass action complaint in the district
  court, and the IGd Plaintiffs have requested pemrission to file zuch a complaint.
  Without expressing a view as to these amended conplaine, we note that remand will
  permit the district court to consider these complaints in the first instance.


                                            42
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 74 of 109 PageID
                                             #: 338
 Case t:zq-c\fgeefflrffiil4tlRscuDwrtrn$Rt{,nlflWil09lQ&Z&3P;egPddeal0ldsl8agelD #: t73




   b"i.g an impartial administrative adjudicator in the petitioners' administrative

   action" (citing Blindr, Robinson B Co. o. SEC, 837 F .2d IW9, 1104 (D.C. Cir. 1988)).

         Secon4 the Kal Plaintiffs object to the Motions Panel Ordet's statement that

   consideration by the citywide panel must comport with Title VII and other

   applicable state and City law. They arpe that the citfwide panel must follow

   the First Amendment. It is, of course, true that the citywide panel must abideby

   the First Amendment. By ordering the citywide panells proceedings to abide by

   other applicable law, the Motions Panel Order does not (and could not) suggest

   that the First Anrendment is somelrow inapplicable to those proceedings.

         We conclude by noting that while the IQil Plaintiffs do not invoke Title VII

   in their lawsuit, that statute will be highly relevant to their renewed requests for

   religious accommodatioru. Under the Supreme Court's decision in Smith, lJlre

   First Anendnent Ukely does not require any religious accorlmodations

   whatsoever to neutral and generally applicable laws. See Shrumo. City of Cmteta,

   M9 F.3d 7132, 1141 (10th Cir. 2006) (McCormell, /.) ("[T]he mere failure of a

   govemment employer to accommodate the religious needs of an employee, where

   the need for accommodation arises from a conflict witlt a neutral and generally




                                            43
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 75 of 109 PageID
                                                #: 339
 c as e ri24- cG,AEe64|.fi lRMluheu tud rlrtft LA  1 HWAop//p 32183Pqgpa@44 ldE S a g e I D # : L7 4




    applicable emplolmrent requirement, does not violate the Free Exercise Clause, as

    tlrat Clause was interpreted in Smith.").

           Irr contrast, Title VII requires employers to offer reasonable religious

    accorrmodations in certain circurnstances. SeeWeThe Patriots,20?l WL 5121983,

    at *L7. Se ganually V.S. Equal Employment Opportunity Comn'n" What You

    Slnuld lQtsu about COWD-I| and the ADA, the Rehabilitation Act, and Otler EEO

    I-aws g L Vaccinatiotts   - Title WI and Religtous Obiections to COWD-I9 Vaccine
   Manilates (lastupdated Oct. 28,202L). Title VII does not, however,

          require covered entities to provide the accommodation that [an
          employeel prefer[s]-in ttris case, a blanket religious exeurption
          allowing them to continue working at their current positions
          unvaccinated. To avoid Title VII liability for religious
          discrimination" an employer must offer a reasonable
          accoulmodation that does not cause the employer an undue hardship.
          Once any reasonable accommodation is provide4 the stahrtory
          inquiry ends.

    We The Patriots, 2021 WL 5121983, at *L7.                      In providing religious
   accourmodations, a government employer must abide by the First Amendment'

          As we have explained and based only on the record developed to date,

   Plainfiffs have demonstrated a likelihood of success on their claim that as applied

   to them, the Cit5/s process for implementing the Vaccine Mandate via the

   Arbitration Award offended the First Anendment. But we do not zuggest that


                                                4
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 76 of 109 PageID
                                       #: 340
case rt24-cfiA$ed'4rQRt[J-Rsoumrlrt6Trt:q"Tnp/HauilgaElF,3quPddb46l@laselD #: L75




   Plaintiffs are in fact entitled to their preferred religious accorlmodations
                                                                                  - ot any
   religious accoulmodatioru for that matter nnder Title VII (or the First

   Aurendment). Our decision is narrow. We condude only that the interim relief

   put in place by the Motions Panel should continue so that Plaintiffs, with the

   conserrt of the City, are afforded an opportunity to have their accommodation

   requests promptly reconsidered.

         To the octent Plaintiffs raise other objections to the process by whidr their

   requests for accomnodations will be adjudicated by the citywide panel, those

   objections are best addressed by the district court on remand. Plaintiffs are free

   to renew their First Arnendment (and other) objections before the district court.

                                     CONCTUSION

         For the foregoing reruions, we VACATE the district courfs order do,ytog

  preliminary iniunctive relief. Further, we ENJOIN Deferrdarrts consistent with

   the terurs of the Motions Panel Order. This iniunction will remain in place during

  reconsideration of Plaintiffs' renewed requests for religrous accoulmodations.

  Within two weeks of the conclusion of Plaintiffs' proceedings before the citywide

  panel, the parties shall inform the district court (rather than this merits panel) of

  the result of those proceedings and advise of any further relief being sought



                                            45
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 77 of 109 PageID
                                             #: 341
case L:24-c€€lfiCefirffiil/[J-RmuDmlrlr0?l+!7l1awao?/l9?Jatr,34agpd{ep,61@BagelD #: L76




   Finally, we REIvIAND the case to the district court for further proceedings

   consistent with this opiniory making dear tlrat the district court may alter the

   ternrs of   the         relief we have ordered or set them aside, as circumstances

   and   further            of the record may require.




                                          M
Case 1:24-cv-01664-NRM-LKE         Document 22 Filed 11/01/24 Page 78 of 109 PageID
                                                  lHWAg?lIQStrlB3BAgPdgMfl@lBage I D #: L7 7
                                               #: 342
Case L:25-cfigsefilrffi ilGt-REcuDwrtrfir 6tl +\V




                                               APPENDIX

                          United States Court of Appeals
                                                   FORTI{E
                                           SECOND CIRCI,JIT

          At a stated term of the United States Court of Appeals for the Second Circuit, held at the
   Thurgood Marshall United States Courthouse,40 Foley Square, in the City ofNew Yorb on the
   l4th day ofNovember, two thousand twenty-one.

   Before: PieneN. [,wal,
                  Jos6 A. Cabranes,
                  Denny Chin,
                        CiranitJudges


  Michael Kane, William Castro, Margaret Ctq
  Heather Clarh Stephanie Di Capu4 Robert Gladding,
  Nwakaego Nwaifejolcwu, Ingld Romero, Trinidad
  Smith, Amaryllis Ruiz-Toro,

                                 P I aintifs -App ell ants,           ORDER

                  v.                                                  2l-267B-cv

   Bill de Blasio, in his official capaoity as Mayor of
   the City ofNew Yorh David Cholshi, in his
   official capacity ofHealth Commissioner of the
   City of New York, New York City Departnent of
  Education,

                                 Defendants-Appellees


  Matthew Keil, John De Luc4 Sasha Delgado,
  De,nnis Strlc, Sarah Buz4glo,

                                 P laintifs -App el lants,

                  v                                                   2127ll-cv

  The City of New Yorlq Board of Education of the
  City School District ofNew Yorh David Chokshi, in
  his Official Capacity of Health Commissioner of the
  City of New Yorh Meisha Porter, in her Official


                                                      47
Case 1:24-cv-01664-NRM-LKE    Document 22 Filed 11/01/24 Page 79 of 109 PageID
                                           1 HHdffiQSm3Begpd&q8l&q$agel D #: 17 8
                                        #: 343
case L:24-cGase@{+0RM-ilReuopcr! rheft 471




  Capacrty as Chanoellor of the New York City
  Deparhent of Education,
                                Defendants-Appellees


         The motions of Plaintiffs-Appellants ('Plaintiffs') for an iqirmction pelding appeal
  having been heard at oral argument on Nove,mber 10, 2021, andDefendants-Appellees
  ('Defendants') having represented to this Court that "lhe City is working toward making an
  opportunity for reconsideration available more broadly to DOE ernployee[s] who rmsuccessfully
  sought religious exemptions pursuant to the arbitration award's appeal process," it is hereby

       ORDERED that this appeal is expedited and will be heard by a merits panel sitting on
  November 22,2021(the'lnerits panel'). Pending firther order by the merits panel,

     l. Plaintiffs shall receive fresh consideration of their requests for a religious
        accommodation by a ce,lrtral cig'wide panel consisting of representatives of the
        Departrnent of Citywide Adrrinistative Senrices, the City Commission on Human
        Rights, andthe Office ofthe Corporation Counsel.
     2. Such consideration shall adhere to the standards establishedby Title VII of the Civil
        Rights Act of 1964, the New York State Human Rights Law, and the New York City
        Hlman Rights Law. Such consideration shall not be governed by the challenged criteria
        set forth inSection IC of the arbitation award for United Federation of Teaohers
        members. Accommodations will be considered for all sincerely held religious
        observances, practices, and beliefs.
     3. Plaintiffs shafi zubmit to the citywide panel any materials or information they wish to be
        considered within two weeks of entry of this order. The citywide panel shall issue a
        determination on each request no later than two weeks after a plaintiffhas zubmitted suoh
        information and materials. Within two business days of the entry of this order,
        Defe,ndants shall inform plaintiffs' counsel how zuch information and materials should be
        transnittedto the cityride panel.
     4. The deadline to opt-in to thi extended leave program and execute any accompanytng _
        waiver shall be stayed for Plaintiffs, and no Jteps will be taken to terminate the plaintifPs
        employmenrt for noncompliance with the vacoination requirement
     5. tf a ptiintifs request is granted by the citywide panel, the plaintiffwill receive baokpay
        nrnning from the date they were placed on leave withoutpay
     6. This orler is intended only to provide for te,mporary interim relief until the matter is
        oonsidered by the merits panel of this court, which panel may entirely supersede these
        provisions for interim relief, and the parties arc atlibefiy to advooate to the moits panel
        lor alteration of these provisions. Unless the merits panel has previously entered a
        superseding order, within two weeks of the conclusion of Plaintiffs' proceedings before
        the citpnide panel, the parties shall inform the merits panel of the result of those
        proceedings and advise of any firther relief being sought.

                                                        FOR TIIE COI,JRT:
                                                        Catherine O'Hagan Wolfe, Clerk




                                                   48
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 80 of 109 PageID
case L:24-cv-OL664-NRM-LKE Document 17  Filed Lol07l24 Page 80 of 109 PagelD #: t79
                                    #: 344




    Exhibit N


    City Wide Panel Denials
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 81 of 109 PageID
 Case L:24-cv-OI664-NRM-LKE Document 17
                                     #: 345
                                         Flled LOlO7l24 Page 8L of 109 PagelD #: 180




   tr'rom: noreply@salesforce.co4 <noreply@salesforce.com> on behalf of l.tYC
   Employee Vaccine Appeals <va€ppeal@dcas.nyc. gov>
   Senfi Monday, March 7,2022 10:40 AIvI
   To:
   SubJecfi Reasonable Accornmodation Appeal Determination


   The City ofNew York Reasonable Accommodation Appeals Panel has carefully
   reviewedyornAgends determination, all of the documentation submitted to the
   agency and the additional information you submitted in connection with the
   appeal. Based on this review, the Appeals Panel has decided to deny your appeal.
   This determination rqlresents the final decision with respect to your reasonable
   acconunodation request.

   The decision classification for your appeal is as follows: The employee has failed
   to establish a sincerely held religious belief that precludes vaccination. DOE has
   demonstated that it would be an undue hardship to grant accommodation to the
   employee grven the need for a safe e,lrvironment for in-person learning

   X'or all employees other than DOE employees: Pursuant to the City of New
   York's policy concerning the vaccine mandate, younow have three business
   days from the date of this notice to submit proof of vaccination. If you do not do
   so, you will be placed on a leave without pay (LWOP).

   For Department of Educafion @OE) employees: Pursuant to New York City
   Deparhent of Education policy, you have seven cale,ndar days to exte,lrd your
   Leave Without Pay or return to work. If you do neither, you will be subject to
   termination. For firther information and insfiuctions, please see DOE Denial of
   Appeal Information.
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 82 of 109 PageID
Case L:24-cv-0L664-NRM-LKE Document 17  Filed tAlO7l24 Page 82 of 109 PagelD #: LBt
                                    #: 346




    Exhibir O



    Scheinman Ju ne 27,2022
         Case 1:24-cv-01664-NRM-LKE                    Document 22 Filed 11/01/24   Page 83 of 109 PageID
NYSCEF
                                                             #: 347                 8fr#tggf, R9EIB#' f,l?o,, ror"

                             SCHEINMAN
                             ANOTRAfl ON A MEUANON SERI/ICB




                                                                     Itme27,2022

             Via F-Mall Onlv
             Liz \lladeck, Esq.
             New York City Deparhat of Educstiou
             Office ofthe- Genqal Counsel
             52 Cbambers St€et, Room 308
             New Yod(, wY 10007

            AlanM. Kiqg€r, Esq.
            Sfioock& Strroock &Lavc8. L.L.P.
            l80lvlaiden Lf,ie, 33d Floor
            NewYork,l{Y 10038

            Mchael Mulgrew, hesid€Nt
            BethNorton, Esq.
            United Federation of Teachers
            52 Broaduray, l4b Floor
            New Yorh NY 10004

            Rel Board of Educatlon of the City School Disffict of tho Clty of Now York
                      and
                      Unitod Federation of Teachen, Locd 2, AX'T, AFI-CIO
                      @noof of Vaccination)

            DearCormsel:

                      Enclosed please find my Opinion and Awrd in the above referonced natter.

                      I bave also enclosed my bill for seryices rendercd.

                      Thankyou



                                                                 UXtrt*{"s.M-*^^L

           MFS/sk
           IIfCDCE lJF!fildof ncdudcrrur




3Z2MainStreetOportWashlngton,NY11050O516.944.1700lfan516.9&,TTTLlwww.ScheinmanNeutrats.com
Case 1:24-cv-01664-NRM-LKE      Document 22 Filed 11/01/24        Page 84 of 109 PageID
                                      #: 348                     8*"{"&98f, R9EIB#' tllo, r ro*
                                                             "

                                             x
   ;;;;;;;;";-;;-;;;-;;;;;;;;,;;--
                                             x
              between
                                             x     Re: Proof of
   BOARD OF EDUCATION OF THE CITY                      Vaccination
   SCHOOL DISTRICT OF THE CITY OF            x
   NEW YORK
                                            x
                      "Department"
                                            x
              -and-
                                            x
   UNITED FEDEnATTON OF TEACHERS,
   LOCAL 2, AFT, AFL-CIO                    x

                      "Union"               x




  APPEARNNCEg


        Fos the Delrartnsnt
          Llz Vladeck, General Counsel

        8o- the Union
        STROOCK E STROOCK & ],AVAN,      t.L. P.
          AIan M. Klinger, Esq.
          Beth Norton, Esq., UFT General CounseL
          Michael Mulgrew, UFT Fresident




  BEF9RE: Martin F. Sche5.nrnan, Esq., Arbitrator
Case 1:24-cv-01664-NRM-LKE   Document 22 Filed 11/01/24 Page 85 of 109 PageID
                                   #: 349              e 8fooJ"l'9Bf,
                                                                      R9EID#' t?f o'., r0*



                                     BACKGROUND


        The Unj.on protests the Department's decision to summarily
   place approximately eighty two (82) Department employees on leave
   without pay, with benefits, effective April 25, 2022, This actlon
   was based upon information the Departrnent recelved from a separate

   investlgative    agency these employees' proof of                   COVID-19

   vaccination was allegedly fraudulent. The UnLon contends the issue
   of whether the Department's action ls proper and falls within the
   scope of my September L0, 2O2Lt Award ("Award").

        Most of the basic facts are not, in dispute.

        In .Iuly 2O2L, former Mayor de Blasio announced a "Vaccine-
   or-Tegt" mandate which required the City workforce, Lncluding the
   educators, to either be vaccinated or undergo weekly testing for
  the Covid-19 virus effective September 13, 202L. Thereafter, on
  August 23, 2021, Mayor de Blasio and the New York City CommisEioner
  of Health and Mental Hygiene, David A. Chokshi, MD, announced a
  new policy for those workforces in Department bulldings. Those
  empj.oyees would be subJect to a "Vaccine Only" mandate. That j.s,

  such employees would need to show by September 27, 202L, they had
  at Least start,ed the vaccinatlon protocol or would not be allowed
  onto Department, premises, would not be paid for work and would be
  at risk of loss of job and beneflts.


                                       2
Case 1:24-cv-01664-NRM-LKE   Document 22 Filed 11/01/24       Page 86 of 109 PageID
                                   #: 350                     8R"".L199f,
                                                          "                 $9gl?,t' f,'?o,, ro*


         This rnandate was reflected in an Order of                 Commissioner
   Chokshi,, dated August 24, 2AZL. That Order, by its terms, dld not
   expressly provide for exceptj.ons or accornnodations for those with
   medical contraindications to           vaccination or         sincerely-heId
   religious objections to inoculatlon. Nor did it address matters
   of due proceas with regard to job and benefits protection.

        The Unlon promptly sought to bargain the impact and
   implementation of the Vaccine Only mandate. The parties had a
   number of discussions, but important matters remained unresolved.

        On September 1, 2021, the UFT filed     a Declaration of Impasse
   with the Public Employment Relations Board (*PERB") as to material
   matters. The Department did not challenge the statement of impasse
   and PERB appointed me to mediate the matters, Mediation sessions
   utere held immediately on September 2,31 4 and 5, 2021, with some

   days having multiple sessions. Progress was made, and certain
   tentative understandings were reached, but signiflcant                    mat,ters

   remained unresolved. tsy agreement, of the parties, the process
  moved to arbitration.      They asked I serve as arbitrator.

        Arbitratlon sessj-ons were then held.     On September 10, 202J-,
   I Lssued an Award which set forth a detalled procedure to be
  followed ln the cases of employees who sought an exemption to the
  Vaccinatlon Mandate based on a medical condition or religious
  reasons.

                                      3
Case 1:24-cv-01664-NRM-LKE   Document 22 Filed 11/01/24       Page 87 of 109 PageID
                                   #: 351                     8(.d'+98f, ft99[B't' t|tf.ov r o*
                                                          "

        In accordance with the procedure set forth j.n my Award,
   employee requests for an exemption tere inltially           submitted to the
   Departrnent, along with any supporting documentatlon. An employee

   wishing to appeal an adverse determination by the Department was
   given the opportunity to appear at a hearing before an i:npartial
   arbltrator who was authorlzed to render a final and binding
   decision.   Approximately flve hundred (500) appeals were
   deterrnined by the arbitrati.on process. PendLng the arbitrator's
   decision, the employee could not be removed from the payroll.

        On ApriJ- 1..9, 2022, the Department informed approxi.utately
  eight two (92) employees they were being placed on leave without
  pay, with benefj.ts, effective April 25, 2022, based on allegations
  their proof of COVID-L9 vaccination was fraudulent. The employees
  were told they could contact the Department if they believed the
  allegation they submitted fraudutent proof of vaccination was
  hrrong. On April 2L, ,2022t the Union wrote the Department and
  demanded it rescind its decislon to remove these employees from

  the payroll without the benefit of a due process hearing.

        By letter dated'ApxLL 22, 2022, the Department set forth its
  position pJ-acement of these employees on a leave without Pay status
  did, not constitute dlscipline, and, therefore, did not i:npllcate
  the d.isciplinary procedures eet forth in the Education Law or the
                                                                              '

  parties' CoLlective Bargalning Agreement (trAgreement").

                                      4
Case 1:24-cv-01664-NRM-LKE    Document 22 Filed 11/01/24        Page 88 of 109 PageID
                                    #: 352                      8fl'{'4$tf ft99lB#' tlI ou ro*
                                                            "

        Thereafter, by letter dated May 3, 2022t the UnLon wrote to
   me reguesting I     take Jurisdiction over thls dispute. The Unlon
   cited to that portion of the Award which states "should either
   party have reason to believe the process set forth herein, is not
   being lmplemented in good faith, it may brlng a clairn directly to
   SAMS for   expedlted resolut,l-orr".

        By letter      dated May 4, 2022, the Department $trote in
   opposJ.tion to the Union's May 3t 2022, Ietter.                The Department

  -stated lt was in full compliance with my Award, as well as the
  Agreement and applicable law. The Department also insisted this
  matter was not properly before me.

       on May 4t 2022, I conducted a conference call with the
  parties. At that time, each side htaa given the opportunity to
   argue thej.r positions.

       Thereafter, on May 6r 2022, the Union subuultted further
  argument in support of its position. The Department responded ln
  a letter dated May 10. 2022.

        Upon my.receipt of the parties'       written submissions' I closed
  the record.

                              DtrSCUSSION AND trIIIDIIIGS


  |[he Iseues:

        The basic issues to be decided are aE follows:

                                          5
Case 1:24-cv-01664-NRM-LKE    Document 22 Filed 11/01/24       Page 89 of 109 PageID
                                    #: 353                     8R'%1198f
                                                           "               $9ElP"t' tFFo,no*


           1. Is the Department's declsion to pJ.ace the approxS:nately
              eighty two 182) employees on leave without PaYr wtth
              benefj.ts, subject to my jurisdictl-on pursuant to the
              September LOr 202L, Award?
           2. ff so, what shall be the remedy?

   Position of, the Partieg

        ?he Department insists the factg of circumstances regarding
   its placement of the eighty two 182) employees on leave without
   payr wlth benefits, is not within my jurisdiction pursuant to the
   Award. According to the Department, the Award .sets forth an
   expedited process to review Department employees' requests for
   exemptions and accommodations from the August 2L' 2021' mandate to
   submit proof of COVID-19 vaccinat,ion by Septernber 29, 2021. The
   Department maintains the          requests for      an exemption or
   accommodation were llmited to medical and religlous grounds. It
   contends no other lssue is covered by the Award.

        The Department contends it placed the employees on a leave
  without pay status as a result of the Departmentts receipt of
  information from a law enforcement agency the employees in question
  submitted fraudulent proof of vaccination in order to comply with
  Comrnissioner Chokshit s order whiih ::equired vaccinat,ion of                all
  Department staff.

        According to the Department, the Courts have held complj.ance
  with the CommisEioner Chokshits Order is                 a "condition of

                                       6
Case 1:24-cv-01664-NRM-LKE       Document 22 Filed 11/01/24       Page 90 of 109 PageID
                                                                                  ' oLF9,', no *
                                       #: 354                     e9"".[198oP$9$P'f
                                                              '

   employmenL". The Department maintains this sltuation is                        no

   different   to the Departmentts unilateral             action against an
   employee who is not certified-         As such, the Department maintains
   placing employees on leave without pay for failing to comply with
   the Commissioner Chokshi's Order comports with applicable due
   process procedures as long as notice is given, and the employee
   has an opportunlty to respond. 'In support of its position the
   Department cites Broecker v. N.Y.            Dep't of Educ., 2L-CV-6387,
   2022 I{L 4261L3 at *7-8 (E.D.N.Y. Feb. 11, 20221 ; and N.Y. City
  Mun. Labor Cornm. v. City of New York, L5LL69/2022 (Sup. Ct. N.Y.
  county Apr. 2l;            .
                    ,20221

        The Department argues employees who are identified                        in
  connectj.on with a law enforcement, investigation                      into    the
  submlssion of fraudulent, vaccination cards are outside the scope
  of the Award. Furthermore, the Department lnsists the Award's
  reference to a party's fail-ure to implement the process does not
  apply t,o the facts and circumstances presented, here. According
  to the Department, the language relied upon by the Union refers
  speclfLcalJ.y to the "adninistrative process for the revlew and
  determination of requests for religious and medical exemptions to
  the mandatory vacclnatLon policy and accommodation requests where
  the requested accormnodation is the empJ-oyee not appear at school".
  The Department asserts gince that process is not at lssue, here,
  the Union's cl-aim is misplaced.
                                          7
          Case 1:24-cv-01664-NRM-LKE   Document 22 Filed 11/01/24 Page 91 of 109 PageID
a   --f    '-eh-i'7fiXri:t'taTifff           #: 355              e 9L of 1-09 P aoelD # L90
                                                                                         01 /0L /2022
                                                                      RECEIVED NYSCEF:




                   For the reasons set forth above, the Department contende the
             Unlon's request for relief pursuant to the Award rnust be denied.

                   The Unlon, on the other hand, argues the Department's decision
            'to place these employees on leave without pay, with beneflts, is
             predicated on the Award. It insists this matter .Ls subject to my
             continued Jurlsdj.ction. The Unlon asserts the Agreement prohibits
             an employee from being removed from the payroJ.l wLthout
             establishing probable cause in a due process hearing. 1

                  The Union maintains the Department's contention thls
             situation is akin to the removal of an uncertified employee is
            misplaced. According to the Union, approval of certificatlon                 1s

             issued by the State. fn addition, the Union insists an employee
             is either certified by the State or is not, there is no underlying
            question of fact to be determined. The Unj.on asserLs if                     an

            employee proves they have completed all      of the necessary paperwork,
            but they are not yet certified, they will- not be terminated.

                  The Union urges in this instance 'the Department made a
            unilateral decision to place the enrployees on leave, without pay,
            based solely on a comnunication from another agency the employees
            were not vaccinated. The Union contends the Department has no
            dlrect knowledge of whether that assertion is true or false.

            1 There are limited exceptions to this procedure which are
            inapposite.
                                                8
Case 1:24-cv-01664-NRM-LKE   Document 22 Filed 11/01/24 Page 92 of 109 PageID
                                   #: 356              e efooJt98f
                                                                   ftg8lD#' f,?Io,, ro,,


        According to the Union, the Department removed the employees
   from the payroll and subsequently allowed them to provide
   additional evidence they are vaccinated. The Union maintaLns as
   of May 6, 2022t employees who have contacted the Department
   assgrting they have been placed on leave without pay in error have
   not received any response, yet they remain suspended without pay.

        The Union asserts the only authority for the Department.to
   place employees on leave wit,hout paV, wlth benefits, is the Award.
   It contends the Department is improperly 5.nvoking the Awardr and
   the action eannot be taken until the dispute concernlng their
   vaccination status is determj.ned through the Award's stated
   process.

        In short, the Union argues the Department's unj-Iateral
   decision to place employees on leave without pay, with benefltst
  based on the communicatlon from another agency the employees are
  not vaccinated falls within the Jurisdiction of'the Award.

  OpLaLon

        Certain preli:ni-nary comments are appropriate.                 As an
  -
  arbitrator my role is a limited one. In order for me to detetmine
  whether I can assert jurisdiction over the Departmentts actions as
  alleged by the UnLon, T am limited by the language of the Award.
  If the Award is clear, I must enforce it according to its plain
  meaning.

                                       9
ry   Case 1:24-cv-01664-NRM-LKE   Document 22 Filed 11/01/24     Page 93 of 109 PageID
NYscEF                                  #: 357
                                                               'eqfJ"+'qBfrt9ELB#' tr?lor,ro*


              lfith these principles in rnind, r turn to the facts presented.

              I find I have jurisdiction to consider this matter. While
        the Department, claims its action is unconnected with the Award, it
        is the'Award itself that created a new leave without pay. Absent
        the Award, the Department was without the authority to remove these
        employees from the payroll wlthout providing a due process hearing.

             Leave without pay ls an unusual outcome. Yet, f decided it
        etas appropriate for employees whose requests for a medical or
        religious exemption were denied. This is because such employees
        intentionally declded to disregard the mandate they be vaccinated
       by Septembex 2'l | 202L, the date established by Commj.ssioner Chokshi
       and Mayor de B1asio.

             Implicit in such a designation of leave without pay is the
       individual failed to comply wj-th the vaccine mandate. Here, there
       is a dispute whether the employees did or did not comply. Without
       that being assesgedr or at least submitting evidence to show a
       high likelihood of non-complj.ance, the predicate for placing an
       empJ.oyee on leave without pay does not exist.

             The Department's decision to automatically place these
       employees on leave wl-thout pay is inconslstent with the language
       and underpinnings of my Award. Nothing ln the Award grants the
       Department such use of leave without pay status.


                                          l0
Case 1:24-cv-01664-NRM-LKE   Document 22 Filed 11/01/24       Page 94 of 109 PageID
                                   #: 358                     etfJ'tggf, Rgg[B#' t?7 o v ron
                                                          "


         Based upon the above, I find the Department failed to properly

   lmplement the due process protections of my Award. The Union has
   the right to assert the Department's process "is not impJ.emented
   in good faith."    To be clear, nothing ln my Award was intended to
   abrogate any due process rights the parties otherwise maintained
   with regard to enplolrment status.

         I also disagree with the Departnentts position the court
   decLslons it cltes support the removal of these employees from pay
   status wlthout a hearing. Those court decisions confronted an
   entirely different factual scenario. Unlike this matter, in those
   cited cases, there was no clairn the employees at issue were
   vaccinated.

        In denying the request for a preliminary injunction, 'Justice
   Kim, in NYC Municipal Labor Committee, supra., specifically found
   the absence of that factual issue in her determination. Here, of
   course, the employees agsert they are in fact vaccinated. This
   raises a fact,ual issue that is ripe for adjudication pursuant to
  my Award,,

        Based on the reasons set forth above, I take jurisdiction
  ovex the Department's placement of the approximately eighty two
   (82't employees placed on leave without Payr wj.th benefits.                The

  parties shalL meet within seven (7't caLendar days of the date of
  this Award to atteqlt to agree on a procedure to review an

                                      l1
Case 1:24-cv-01664-NRM-LKE   Document 22 Filed 11/01/24       Page 95 of 109 PageID
                                   #: 359                     eqfJtqgf, ftgsl?#' t?fo, no',
                                                          "

   employee'E claim they have submitted proof of vaccination.              If, the
   parties are unable to agree on such a procedure, I shall
   immediately schedule a hearing and issue an expedited Award
   egtabllshing the proper protocol to provlde the empJ-oyees the
   approprlate due process procedure.




                                      t2
Case 1:24-cv-01664-NRM-LKE                  Document 22 Filed 11/01/24       Page 96 of 109 PageID
                                                  #: 360                     eRfJtgBf, RqElB#' t?lo,r,o*
                                                                         "

                                                   Ag|lRD

                           L.     Pursuant to Section LL of my Award dated September
                                  10, 202L, I shall asaume Jurisdiction over the
                                  Department's decision to place eighty two (82')
                                  empl.oyees on leave without payr wj-th benefits,
                                  effective ApriJ- 25, 2022.
                           2,     The parties shall meet within seven (7) calendar
                                  days of the date of this Award to attempt to agree
                                  on a procedure to review an employee's claLm they
                                  have submitted proof of vaccination. If the
                                  parties are unable to agree on such a procedure' I
                                  shall irmnediately scheduJ.e a hearing and issue an
                                  expedited Award establishing the proper protocol to
                                  provide the employees the approprlate due process
                                  procedure.



    oon"Ll             ,      2022.
                                                          Martin F. Schei-nman, Esq.
                                                          Arbitrator
   STATE OF NEW YORK                   )
                                       )   ss. :
   COUNTY OF NASSAU                    )

             It MARTIN F. SCHEINMAN, ESQ., do hereby affirm upon rny oath
  as Arbitrator that I am the indivldual described herein and who
  executed this instrument, which is my Award.

           rt4
   June hl            , 2022.
                                                          Martin       Schelnman, Esq.
                                                          Arbitrator




  E, UDr.cf tltt-tAtlgEm.sD

                                                     l3
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 97 of 109 PageID
                                    #: 361
Case I:24-cv-OL664-NRM-LKE Document 17 Filed LAlO7l24 Page 97 of 109 PagelD #: 1-96




    Exhibir P



    Remote Home Reassignment
  Case 1:24-cv-01664-NRM-LKE                    Document 22 Filed 11/01/24 Page 98 of 109 PageID
                                                        #: 362
                                               Document 17  Filed t0lO7l24 Page 98 of 109 PagelD #: L97
   Case t:24-cv-01664-NRM-LKE



Dcparlftent of
Eduodtion




            October 17,2022




            POSITION: Teacher
            SCHOOL: 19K504
            EID #:
            NETWORK: BrooklynNorth

            Dear Mr.

            Due to NYC Department of Education administrative office space changes, beginning Tuesday, October
            18,2022,you are hereby temporarily directed to report remotely while administratively reassigned.

            Please note that this temporary assignment is subject to change at any time. As you must be able report
            in.person when directed by this office, it is required that you remain in the NYC area on scheduled days
            of work. Any specific work assigned to you will be provided to you via your DOE email.

         To document your attendance, you are required each work day to email both your payroll secretary ggg!
       *OPIReassisnedStafTf&schoqls.nvc.sov from vour DOE email account that you are beginning your work
     lzdaY   and ending your work day. You must submit each statVend day email within lS-minutes of the start
         and end of yourtypical work shift, unless instructed otherwise by the Reassigned Staffing Team. Emails
         submitted outside the +/- lS-minute window will not be accepted, and you will be marked absent.

            Any questions should be directed to OPIReassiglredSraff(Zrschools.nyc.gov.

            Thank you for your prompt attention to this matter.

            Sincerely,

            Katherine C. Rodi
            Executive Director, Office of Employee Relations

            KGR/Iv

            c:
                   Principal
                  Reassigned Staffing Team



                                                                  Date




                                            OFFICE OF PERSONNEL INVESTIGATION
                                 Reassigned Staffing Team, 100 Gold Street,4ut Floor. Ny, Ny 10098
                                         Phone(212)374-0308 Fax(21Zrs7+1?52
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 99 of 109 PageID
                                    #: 363
Case !:24-cv-OL664-NRM-LKE Document 17  Filed L0tO7l24 Page 99 of L09 PagelD #: 198




    Exhibit Q


    Remote Teacher i zone
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 100 of 109 PageID
                                      #: 364
 Case 1,:24-cv-0L664-NRM-LKE Document 17  Filed LOlO7l24 Page 100 of 109 PagelD #: 199




    TEACHERVACANCY CIRCULAR NO 4
    CENTRAL REMOTE TEACHERS IZONE
    20222023
    NYG Department of Education
    3.93.9 out of 5 stars
    Remote
    Fulhtime

    Location
    Remote


    Full job description

   TEACHERVACANCY CIRCULAR NO 4
   CENTRAL REMOTE TEACHERS iZONE
   2A222023
         Posted Date: May 6, 2022 Deadline: Jun 3, 2022
         New York United States
         VIRTUAL

   Job Details
   (SUBJECT TO BUDGET AVA|LAB|L|TY)

   POSITION:

   Teacher - Gentral
   Remote lnstruction Teachers

   License/Eligibility Requirements :
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 101 of 109 PageID
                                     #: 365
 Case 1:24-1v-0L664-NRM-LKE Document 17  Filed LOlO7l24 Page 101 of 109 PagelD #:ZOQ




    New York City licensed Social Studies, Science, English, Foreign Language,
    Math and Health tenured teachers in High School Grade Levels.

    Office:       :




    iZone

    Location:

    82-01 Rockaway Blvd, Ozone Park, NY 1 1416

    Or other DOE offices

    Remote Teachers

    Position Summary:

   Virtual Learning Classrooms aim to partner teachers from around the city with
   students to provide them with increased access to courses not available in
   their home schools, including, but not limited to Electives, AP Courses, and
   Foreign Language @urses. This posting is for teachers interested in teaching
   in this full time program ftom September 2A22 - June 2023. Remote
   instruction teachers will deliver instruction to and communicate with high
   school students in other locations using intemet and required technological
   platforms. Please note that while students will not be in the same location as
   the teacher, this is an in person teaching position.

   Remote Teachers are licensed teachers of high school grade levels who
   teach students virtually. Remote teachers will teach students in the following
   subject areas: Advanced Placement Subjects (lncluding but not limited to, AP
   Psychology, AP Spanish, AP US History, AP World History, AP Government,
   AP Calculus AB/BC, AP Macroeconomics, AP Statistics, AP Computer
   Science Principles and A, AP Environmental Science, AP English Language
   and Literature, and AP Seminar), electives (lncluding but not limited to,
   Forensics, Health, Media Literacy, Financial Literacy, science electives,
   Computer Science and Business) and Foreign Languages (lncluding but not
   limited to, Spanish, Ghinese and French). Other subjects may be added.
   Students may be enrolled from multiple schools simultaneously, but total class
   size will not exceed contractual limits. Remote Teachers will be expected to
   participate in 10 sessions of professional leaming workshops including an
   online course leading to a Learning Managernent System certification to occur
   during July and/or August prior to commencement of position with remaining
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 102 of 109 PageID
 Case L:24-Iv-OL664-NRM-LKE Document 17  Filed tOlO7l24 Page 1-02 of 109 PagelD #:20L
                                     #: 366




    on{oing professional learning during the year and will be paid at the per
    session rate for work beyond the contractual workday/work year. Remote
    teachers will perform required duties (including coffesponding with home
    school staff, planning for remote instruction and assessment, communication
    and conferencing with students and/or parents). Duties and responsibilities
    are intended to emulate traditional teaching paradigms and create an
    equitable learning experience.

    Reports to:

    DllT iZone Supervisor

    QUALIFICATIONS:

      a   Minimum of four (4) years of teaching experience as a regularly
          appointed teacher. Knowledge of the common core standards as it
          relates to course.

          Extensive knowledge of the New York State and City Standards, meets
          Advanced Placement requirements (as appropriate) and is licensed in
          subject matter.

      a   Demonstrated expertise in an online learning environment designing
          and implementing standards-based instruction that speciftes clear
          leaming objectives, includes engaging activities and authentic
          assessments to measure mastery.

      a   Willingness to promote online dialogue to deepen the learning
          experience.

      a   Dernonstrated ability with written and oral communications emphasis
          placed on the delivery of digital presentations.

      a   Demonstrated abili$ to use online learning, communication and other
          edtech tools as appropriate.

      a   Can differentiate instruction for individuals or groups of students based
          on instructional data and analysis as well as student characteristics.

      a   Can sustain and document flexible teaching schedules, which account
          for asynchronous and synchronous activities that are student-centered
          and maintain high standards for student engagement and suc@ss.
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 103 of 109 PageID
 Case L:24-cv-01664-NRM-LKE Document 17  Filed LOta7l24 Page 103 of 109 PagelD #:202
                                     #: 367




      a   Selected candidates will be asked to facilitate a demonstration lesson or
          planning activity to demonstrate aforementioned qualifi cations.

    PREFERRED SKILLS:

             o   Demonstrated skill in team building, group dynamics, and
                 facilitating collaborative learning.
             o   Proven history of being a self-starter who works well without
                 constant supervision.

    DUTIES AND RESPONSIBILITIES:

      a   Demonstrate competency in using data from assessments and other
          data sources to modify content and guide student leaming.

      a   Modify engaging content and appropriate assessments in an online
          environment.

      a   Provide quality instruction to students using asynchronous and
          synchronous teaching methods (1.e. asynchronous = discussion forums,
          group work, written and digital assignments, posted content.
          Synchronous = online classrooms, webinars, chat rooms).

      a   Employ student-centered instructional strategies that are connected to
          real-world applications to engage students in learning.

      a   Facilitate and monitor online instruction groups/discussions to promote
          learning through higher-order thinking and group interaction.

      a   Provide a variety of ongoing and frequent teacher-student, teacher-
          teacher, and teacher-administrator interaction with participating schools.

      a   Provide prompt feedback, communicate high expectations, and teach to
          diverse talents and learning styles.

      O   Online cornmunication between students and teachers is a significant
          component of this program to mimic in person communication.
          Therefore, teachers are expected to respond to student emails and
          grade assignments within 2 workdays, as well as monitor and respond
          to discussion postings daily during the school week.
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 104 of 109 PageID
                                     #: 368
Case L:24-cv-01664-NRM-LKE Document l-7  Ftled IOlO7l24 Page LO4 o1109 PagelD #:203




      a   Regularly share with home school(s) student data including but not
          limited to grades and attendance. This includes the use of school
          selected platforms and systems.

      a   lncorporate and comply with FERPA, AUP and communicate privacy
          guidelines to students.

      a   Select and use a variety of online tools for communication, productivity,
          collaboration, data and performance analysis, presentation, research,
          and online content delivery as appropriate to the content area and
          student needs.

      a   Use communication technologies in a variety of mediums and contexts
          for teaching and learning.

      a   Apply technical troubleshooting skills (downloading plug-ins, uploading
          assignments, etc.)

          Participate in all professional development and peer mentoring
          exercises throughout the duration of service.

      a   Develop key relationships in order to work closely with home school
          staff, students and parents of participating schools, guidance counselors
          and central iZone staff.

      a   Participate in activities to identify best practices, address challenges
          and assess efficacy.

   WORKING CONDITIONS & LOCATION:

      a   The maximum class size of a full virtual course not exceed UFT
          contractual limits.

      a   Teachers shall not be assigned more than twenty five (25) teaching
          periods per week and may teach up to five (5) remote classes; however,
          the maximum number of distinct courses shall not exceed three (3).

          Teachers must confer with students synchronously during programmed
          periods each week, as well as be available for asynchronous teaching
          approaches including but not limited to office hours, individual and small
          group conferencing and providing direction for independent student
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 105 of 109 PageID
Case L:24-Iv-0L664-NRM-LKE Document 17   Frled LOlo7l24 Page 105 of 109 PagelD #:204
                                     #: 369




          work. Facilitate learning through supplied curriculum that teachers may
          supplement.

      a   Teachers are expected to teach in person from 82-C1 Rockaway Blvd,
          Ozone Park, NY 1 1416 or other DOE office.

    Hours:

   As per Article Six of the Collective Bargaining Agreement

   Salary:

   As per UFT Contract

   Work Year:

   As per Article Six of the Collective Bargaining Agreement

   APPLICATION INSTRUGTIONS:

   Please be sure application includes cover letter, resume and your 6-digit file
   number.

   Please send application via emailto the following email address:
   iLearnNYC@schools.nyc.gov with the Subject line: "Fulltime Remote Teacher
   application."

   Applications will be accepted through:

   JUNE 3,2022
   An Equal Opportunity Employer M/F/D
   It is the policy of the Department of Education of the City of New York to
   provide equal employment opportunities without regard to actual or perceived
   race, color, religion, creed, ethnicity, national origin, alienage, citizenship
   status, age, marital status, partnership status, disability, sexual orientation,
   gender(sex), military status, unemployment status, caregiver status, consumer
   credit history, prior record of anest or conviction(except as permitted by law),
   predisposing genetic characteristics, or status as a victim of domestic
   violence, sexual offenses and stalking, and to maintain an environment free of
   harassment on any of the above - noted grounds, including sexual
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 106 of 109 PageID
 Case 1,:24-cv-0L664-NRM-LKE Document l-7  Filed tAl07l24 Page L06 of 109 PagelD #:205
                                       #: 370




    harassment or retaliation. For more information, please refer to the DOE Non -
    Discrimination Policy.

                                       &nbsp;
Case 1:24-cv-01664-NRM-LKE   Document 22 Filed 11/01/24 Page 107 of 109 PageID
Case 1.:24-cv-Ou664-NRM-LKE Document 17  Filed LOt07l24 Page L07 of 109 PagelD #:206
                                     #: 371




    Exhibit R


    MLC Letter 8/L2/24
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 108 of 109 PageID
                                      #: 372
 Case L:24-cv-01664-NRM-LKE Document l-7 Frled tAl07l24 Page 108 of 109 PagelD #:207



                       il

                                              Labor Committee
                      SSUUsb             20PFhtrfltlEm        tily,tffitJ

                                                                              nqgurt 13!3lf,!



                             !trsnlDcmFuleihm
                             Slest.Bogqty &layor
                             CityofHervVort
                             Ciqrllail
                             Dfu'w Yrdr" I'fc'fl Yo* !0tlSI


                             Hnn Emmatllol&
                             €&icfo,f 8M[gnd
                              llspny ldtlpn frr Afuirricharitrtr
                             City of},lelr' Tork
                             Ciry Hdl
                             NclrrYs*,liss, Yfft mm?

                             Ilou RrurcCarnpioa
                             fsnmissionar
                             Itlctr Yocft {tfy Offiur €f kber'Rclaligu
                             12floalgl& $-
                             !.ten'YqalqtfY lm$?

                             Dcar.dll:

                                              to wgmathc sscro oorncrn-ard grcur dispSoiffi!@t_€f
                            lhs   lififl11rf
                                         Uoion lcadcrs-on ttre lnr&ofprqgrrsn bririuing$,i"qgo&*"d
                            pmgnarn to imp9gtneni Sr,s Ciry.e urocinntceling pcliry"

                                    $cvrml urrcb qgo, rhc {}iry rnncrnood, wifurrr piorcorerlMfun or
                            hugrrinins wirh
                                            $e tloiinq egoriuy rtratvrouH rquirc.iublis  qlqrw
                            cirhcrtobcnrocingrcd ort'e b"!d i.dly nuvoftl'suacnsi* *ifu*fo pq,
                            s'cspile this milmd ndion, nd& u c1,o-iuwrde tno fifutggrc     rar.*     or
                            the beRa varirn4 {rc llitlfs rtrlcrns-
                                                                   ryryd ro rnroct snd di*"* n" grog*oo
                            e9lry yrtt r*, snd rursarrous E&Er kct ciry odficirrr m Jrdy es. ffi.no,
                            of{hpdirc'ssim, rro ttoqgll uus the cityt aoir" uws&,qo&b#lorv
                            wilb ttc llnisrs to nuvigr6 rp*h rwrdi
                                                                      ""U;W rhl
                                                                                    q.Jh,*;di,
                            PDhsl'-

                                                mltcaivcly ss&Ed &c ltuiol hadcrs b prsridc
                                 frryudFd5fiip
                            pmpom[r     roiaeooooccn4 wiia& ws'sd. friooqF umoungd*ooo.r*

                            Itr H13#Fp",*lhl'dleof       p,idns rimcty Jnd am&nr" m,ui,rg , ,b"
                                    Crty wocftme urfto" dccpitc thu cnoourrycrrent          of mar$
                            :,."1y l$tilT-g
                            flnou'&ng Umon leodcrs|,                ora of rasci''*im   fuE,cdd;ndgo*
                                                         T"op_uFt
                            End othnr rrsero* f&ir
                            ifric poliry r*os succesfid-in
                                                            dlleinrnq uc rr"lo*
                                                    'uqi6r cnaouragiug
                                                                                  r'r*d*",ff lJeto!,E r
                            mrrun*y unvrccinmcd cmsoycrs L uilr"il"m.       "
                                                                              ds;fi;J;*;;dh"
Case 1:24-cv-01664-NRM-LKE Document 22 Filed 11/01/24 Page 109 of 109 PageID
                                         Filed IOtO7t24 Page 109 of 109 PagelD #:208
                                     #: 373
 Case L:24-cv-0L664-NRM-LKE Document 17
     Fogc 2..Vacoinc/Tcrriog Sdrr:f



           IbG MIJC officcn cmsiomd 6d logkdrs rnlrc timc r u'ulc ouq wuld ncccssadly bc rgarry
     EPEcific   inAkmd e+
                             -*rn*   eapprr f'laonlry; tha Gity nnufd bc in p*lrm of nrii"g donUb      *
     moy oplrycr bqmc wirhour      pay$er drsc wsutdtc innrf8cior frmn{    " t  crnry out &s frrics 1pquild
     b sPFsFrElcry Scuvidc rcrrrica u rie mcfolcnu of rlu Ciry" Stc also rsir; mAnircura              '
                                                                                           $lgsriwlL
     inotu{ag wih_rtgud
                       Ptoling ufirthcrlrwnuH ucgcrCornad mthc$u&.sircsndm t**fi-r, andif
     nntw'hcct*ingtuuldbcrwilsblc *.dhowvm*cixdUbc,oourpconnd formrlrsyingrriuilG
     mudradpdfuy.

           Thc diacusim smelndcd m r-hr@ul note witb {rc Cil}' qgrcciry n ulcc badc ruan37 of thc
    c@tmnE oornEtrls d slggsslirrr firmn*idcnaiso cnd n cortin;1o tfc &rs,EEiffi w1n itc Unlonr" ffiar
    lrc IBE-$sihr efo- lllhile 9ry tcvc batn qFoadic Srcusimc witb ssrnc, [fi.C inquirics rqnrding &ffc
    crrcotid urlcrs hncusnlially gorc rrourrwud. Thir ir ungscE$,t*ilE-

          TheMLC ed itslcsdcrs hsvc bGEr firra ardcosi{Eottlar rrhilcrtsUnimsauppct
    vrmination (rrd brrc utdr onridsrahlc eftrts m their onD lE Elcourrgtr tbciturarbJn u nocr*uai1,
    willnarabdimcftcirhgdditr'nd rc{DrgihilirylopupcrftcdsLgoirnsdmrtosrfscitrEr
                                                                                                           ilry
                        to-bc hAd barmlis fq bodi thr'rimc
    Psn"t-tt gtr!fring
    fair       &r oy  fcm                                  -dd.f 1gs|iry-d;;;il"E *,"nd b hevE e
         ryes              -of $aiFIT'c.
                                         Mrtc no pi*lle  dcrpir "-lling &ir; **inml* pUiry, tt; Ciry.e
    pqoedcrurrrrl:rrcricriaa.aa!ryoem_fudkciplimrftriwddrfr,*s$ryiEc6                              -
    *ilfturipryud nilfrnurrfctypicrl ftcnu ofdmp.t*prwidod foaurdcrtnot* h"6hi"g  d""dis"rlm
    qrmmirudlarw-

    -L*rr33:fft:T.*".F.to-prTcculgrocootinuerhisvitrldisssirn-                      ln.thcmcmrberaopolioy
    sn@u tc mpLdfftorl bcfue il is ncgflietcd-


                                                                    Smccdy"


                                                                    ww
                                                                    UlEillrlGqro$
                                                                    Orrir
    oc     HcoryCrsoido
           CeGlnir
           IlirtictQornc.il 3l

           ltilhnd MrdgrEtr
           &oertivc ViccChair
           Ubilcd edrratirn of Tcachss

          Glqsry ftcJd
          Sccsary
          Locd fl?, City EnPlor,lrcll Uridn

          lttdcCruirom
          Trtsrmr
          Corlnsil of Sdrool Supcrticcr & ltrniairtrnm
